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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ASETEK DANMARK A/S,                               Case No. 19-cv-00410-EMC
                                   8                    Plaintiff,
                                                                                           CLAIM CONSTRUCTION ORDER
                                   9             v.

                                  10     COOLIT SYSTEMS INC,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13                                      I.      INTRODUCTION
                                  14          Plaintiff Asetek Danmark A/S (“Asetek”) filed this action against Defendant CoolIT
                                  15   Systems, Inc. (“CoolIT”), accusing CoolIT of infringing several of Asetek’s patents (U.S. Patent
                                  16   Nos. 8,240,362 (the “’362 Patent”); 8,245,764 (the “’764 Patent”); 9,733,681 (the “’681 Patent”);
                                  17   10,078,354 (the “’354 Patent”); and 10,078,355 (the “’355 Patent”)). CoolIT counterclaimed,
                                  18   accusing Asetek of infringing several CoolIT patents (U.S. Patent Nos. 8,746,330 (the “’330
                                  19   patent”), 9,603,284 (the “’284 patent”), 9,057,567 (the “’567 patent”), and 10,274,266 (the “’266
                                  20   patent”)). On June 29, 2020, the parties appeared before the Court for a claim construction
                                  21   hearing. The parties have asked the Court to construe sixteen terms (several of which will share
                                  22   the same construction), which appear in various claims of the patents-in-suit.
                                  23                                      II.      BACKGROUND
                                  24          Asetek filed this lawsuit against CoolIT on January 23, 2019, alleging infringement of the
                                  25   patents noted above. See Docket No. 1. CoolIT responded by filing an answer and counterclaim
                                  26   (alleging infringement of its patents) on April 11, 2019. See Docket No. 23. Generally speaking,
                                  27   the patents at issue pertain to liquid cooling technology, which transfers heat away from the heat-
                                  28   producing parts of electronic devices (such as processors and semiconductors). The technology
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                                   1   operates by absorbing heat from a heat-generating device, transporting the heat away from that

                                   2   source, and dissipating it elsewhere.

                                   3          This is the second time these parties have appeared before the Court in a patent

                                   4   infringement case. See Case No. 3:12-CV-04498-EMC. The first case was filed in 2012, and the

                                   5   parties reached a settlement agreement, which resolved the case in 2015. See Docket No. 281 in

                                   6   Case No. 3:12-CV-04498-EMC. In that case, Asetek alleged infringement of the ’362 and ’764

                                   7   Patents by CoolIT. See Docket No. 90 in Case No. 3:12-CV-04498-EMC. CoolIT argued that the

                                   8   ’362 and ’764 Patents were invalid because they were anticipated as obvious by the prior art. See

                                   9   Docket No. 74 in Case No. 3:12-CV-04498-EMC. CoolIT sought declaratory relief, asking the

                                  10   Court to declare the invalidity of the ’362 and ’764 Patents and non-infringement by CoolIT. Id.

                                  11   Ultimately, CoolIT agreed to pay damages and to “cease selling the infringing pump design that

                                  12   was at issue in the prior litigation”; the current suit involves similar allegations against CoolIT’s
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                                  13   “allegedly redesigned” product-line, as well as CoolIT’s infringement claims against Asetek. See

                                  14   Docket No. 104 at 1.

                                  15                                           III.   DISCUSSION

                                  16   A.     Legal Standard

                                  17          Claim construction is a question of law for the court to determine, although it may have

                                  18   factual underpinnings. See Markman v. Westview Instruments, Inc., 52 F.3d 967, 970–71 (Fed.

                                  19   Cir. 1995), aff’d, 517 U.S. 370 (1996); see also Icon Health & Fitness, Inc. v. Polar Electro Oy,

                                  20   656 Fed. App’x 1008, 1013 (Fed. Cir. 2016); Multilayer Stretch Cling Film Holdings, Inc. v.

                                  21   Berry Plastics Corp., 831 F.3d 1350, 1357 (Fed. Cir. 2016). It “serves to define the scope of the

                                  22   patented invention and the patentee’s right to exclude.” HTC Corp. v. Cellular Communs. Equip.,

                                  23   LLC, 877 F.3d 1361, 1367 (Fed. Cir. 2017); see also O2 Micro Int’l Ld. v. Beyond Innovation

                                  24   Tech. Co., 521 F.3d 1351, 1360 (Fed. Cir. 2008) (stating that the purpose of claim construction is

                                  25   “to determin[e] the meaning and scope of the patent claims asserted to be infringed”) (internal

                                  26   quotation marks omitted).

                                  27                  Words of a claim are generally given their ordinary and customary
                                                      meaning, which is the meaning a term would have to a person of
                                  28                  ordinary skill in the art after reviewing the intrinsic record at the
                                                                                          2
                                         Case 3:19-cv-00410-EMC Document 149 Filed 07/22/20 Page 3 of 45



                                                       time of the invention. “In some cases, the ordinary meaning of
                                   1                   claim language . . . may be readily apparent even to lay judges, and
                                                       claim construction in such cases involves little more than the
                                   2                   application of the widely accepted meaning of commonly
                                                       understood words.” However, in many cases, the meaning of a
                                   3                   claim term as understood by persons of skill in the art is not readily
                                                       apparent.
                                   4

                                   5   O2 Micro, 521 F.3d at 1360 (internal citations omitted) (citing and then quoting Phillips v. AWH

                                   6   Corp., 415 F.3d 1303, 1314 (Fed. Cir. 2005)).

                                   7                   Because the meaning of a claim term as understood by persons of
                                                       skill in the art is often not immediately apparent, and because
                                   8                   patentees frequently use terms idiosyncratically, the court looks to
                                                       “those sources available to the public that show what a person of
                                   9                   skill in the art would have understood disputed claim language to
                                                       mean.” Those sources include “the words of the claims themselves,
                                  10                   the remainder of the specification, the prosecution history, and
                                                       extrinsic evidence concerning relevant scientific principles, the
                                  11                   meaning of technical terms, and the state of the art.”
                                  12   Phillips., 415 F.3d at 1314. Although extrinsic evidence “can shed useful light on the relevant art,
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                                  13   . . . it is less significant than the intrinsic record in determining the legally operative meaning of

                                  14   claim language.” Id. at 1317 (internal quotation marks omitted).

                                  15           Claim construction proceeds according to important principles of interpretation. First, “the

                                  16   claims of a patent define the invention,” Innova/Pure Water, Inc. v. Safari Water Filtration Sys.,

                                  17   Inc., 381 F.3d 1111, 1115 (Fed. Cir. 2004). The words of a claim are generally given their

                                  18   “ordinary and customary meaning,” which is the “meaning that the term would have to a person of

                                  19   ordinary skill in the art in question at the time of the invention.” Phillips, 415 F.3d at 1312-13.

                                  20   “The inquiry into how a person of ordinary skill in the art understands a claim term provides an

                                  21   objective baseline from which to begin claim interpretation.” Id. at 1313. Such a person “read[s]

                                  22   the claim term not only in the context of the particular claim in which the disputed term appears,

                                  23   but in the context of the entire patent, including the specification.” Id.

                                  24           “In some cases, the ordinary meaning of claim language as understood by a person of skill

                                  25   in the art may be readily apparent even to lay judges, and claim construction in such cases

                                  26   involves little more than the application of the widely accepted meaning of commonly understood

                                  27   words.” Id. at 1314. In other instances, however, claim language requires interpretation. In

                                  28   construing claim language, the court looks to “those sources available to the public that show what
                                                                                           3
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                                   1   a person of skill in the art would have understood disputed claim language to mean,” including

                                   2   “the words of the claims themselves, the remainder of the specification, the prosecution history,

                                   3   and extrinsic evidence concerning relevant scientific principles, the meaning of technical terms,

                                   4   and the state of the art.” Id. (quotations and citations omitted).

                                   5          “[T]he claims themselves provide substantial guidance as to the meaning of particular

                                   6   claim terms.” Phillips, 415 F.3d at 1314. The “context in which a term is used in the asserted

                                   7   claim,” “[o]ther claims of the patent in question, both asserted and unasserted,” and “[d]ifferences

                                   8   among claims” are all instructive. Id. “The claims, of course, do not stand alone” and instead

                                   9   “must be read in view of the specification,” which is “[u]sually ... dispositive” and “the single best

                                  10   guide to the meaning of a disputed term.” Id. at 1315.

                                  11          Courts “normally do not interpret claim terms in a way that excludes disclosed examples in

                                  12   the specification.” Verizon Servs. Corp. v. Vonage Holdings Corp., 503 F.3d 1295, 1305 (Fed.
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                                  13   Cir. 2007). Additionally, in general, “limitations from the specification are not to be read into the

                                  14   claims.” Comark Commc’ns, Inc. v. Harris Corp., 156 F.3d 1182, 1186 (Fed. Cir. 1998). That is

                                  15   because “the purposes of the specification are to teach and enable those of skill in the art to make

                                  16   and use the invention and to provide a best mode for doing so.” Phillips, 415 F.3d at 1323. The

                                  17   effect and force of specifications varies. “[U]pon reading the specification in that context, it will

                                  18   become clear whether the patentee is setting out specific examples of the invention to accomplish

                                  19   those goals, or whether the patentee instead intends for the claims and the embodiments in the

                                  20   specifications to be strictly coextensive.” Id.

                                  21          In addition to consulting the specification, “the court should also consider the patent’s

                                  22   prosecution history.” Markman, 52 F.3d at 980 (citing Graham v. John Deere Co., 383 U.S. 1, 33

                                  23   (1966)). However, because the “prosecution history represents an ongoing negotiation between

                                  24   the [Patent and Trademark Office] and the applicant,” it “often lacks the clarity of the

                                  25   specification” and therefore “is less useful.” Phillips, 415 F.3d at 1317.

                                  26          Though intrinsic evidence—the claims, specification, and prosecution history—is more

                                  27   significant and reliable than extrinsic evidence, courts may also consider the extrinsic record in

                                  28   claim construction, including expert and inventor testimony, dictionaries, and learned treatises. Id.
                                                                                          4
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                                   1   at 1317-18. “Within the class of extrinsic evidence, . . . dictionaries and treatises,” “especially

                                   2   technical dictionaries . . . can assist the court in determining the meaning of particular terminology

                                   3   to those of skill in the art” because they “endeavor to collect the accepted meanings of terms used

                                   4   in various fields of science and technology.” Id. at 1318.

                                   5           Further, expert testimony can “provide background on the technology at issue, to explain

                                   6   how an invention works, to ensure that the court’s understanding of the technical aspects of the

                                   7   patent is consistent with that of a person of skill in the art, or to establish that a particular term in

                                   8   the patent or the prior art has a particular meaning in the pertinent field.” Id. However,

                                   9   “conclusory, unsupported assertions” are not useful, nor should the court accept expert testimony

                                  10   “that is clearly at odds with the claim construction mandated by the claims themselves, the written

                                  11   description, and the prosecution history.” Id. (quotation and citation omitted).

                                  12   B.      Analysis
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                                  13           1.      Disputed Terms of the Asetek Patents

                                  14                   a.      double-sided chassis

                                  15
                                                            Asetek’s Proposed              CoolIT’s Proposed             Court’s Construction
                                  16    Claim Term          Construction                   Construction
                                        “double-sided       “a two-sided structure,        “two-sided frame or           “two-sided frame”
                                  17    chassis”            each side of which             base”
                                                            supports a pump
                                  18    ’764 patent,        component”
                                        claim 1
                                  19
                                        ’355 patent,
                                  20    claims 1, 5, 6,
                                        10, 11, and 13
                                  21
                                        ’681 patent,
                                  22    claims 1, 8, and
                                        11
                                  23

                                  24           The dispute with this term pertains to whether “chassis” should mean a two-sided
                                  25   “structure” which supports a pump component on each side thereof (Asetek’s construction), or
                                  26   whether “chassis” should simply mean a two-side “frame or base” (CoolIT’s construction).
                                  27   Asetek’s Opening Claim Construction Brief (“Asetek Opening Brief”) at 6, Docket No. 104.
                                  28   Asetek notes that the “’355 and ’681 patents are continuations of the ’764 patent and all three
                                                                                            5
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                                   1   patents have the same specification and drawings.” Id. It therefore asserts that “the term ‘double-

                                   2   sided chassis’ in the ’764, the ’355, and the ’681 patent claims should be construed consistently

                                   3   across all three patents.” Id. CoolIT does not appear to dispute this point. See CoolIT’s

                                   4   Responsive Claim Construction Brief (“CoolIT Response Brief”) at 2–4, Docket No. 112.

                                   5           Turning first to the language of the claims themselves, the term “double-sided chassis”

                                   6   appears several times, for example:

                                   7              •   “A cooling system for a heat-generating component, comprising: a double-sided
                                                      chassis adapted to mount a pump configured to circulate a cooling liquid, the pump
                                   8                  comprising a stator and an impeller, the impeller being positioned on the underside
                                                      of the chassis and the stator being positioned on the upper side of the chassis and
                                   9                  isolated from the cooling liquid.” ’764 Patent at 27:39–46 (Claim 1).1
                                                  •   “A liquid cooling system for cooling a heat-generating component of a computer,
                                  10                  comprising: a reservoir configured to circulate a cooling liquid there-through, the
                                                      reservoir including: a pump chamber housing an impeller and defined at least in
                                  11                  part by an impeller cover and a double-sided chassis, the impeller being positioned
                                                      on one side of the chassis and a stator of the pump is positioned on an opposite side
                                  12                  of the chassis.” ’355 Patent at 28:19–27 (Claim 1).
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                                                  •   “A liquid cooling system for cooling a heat-generating component of a computer,
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                                  13                  comprising: a pump chamber housing an impeller, the pump chamber being defined
                                                      by an intermediate member and a double-sided chassis housing, the impeller being
                                  14                  part of a pump that includes a motor, a rotor, and a stator configured to circulate a
                                                      cooling liquid, the impeller being positioned on one side of the double-sided
                                  15                  chassis housing and the stator being positioned on an opposite side of the double-
                                                      sided chassis housing and isolated from the cooling liquid.” ’681 Patent at 29:21–
                                  16                  31 (Claim 8).
                                  17           First, the language of the claims supports CoolIT’s contention that “Asetek’s construction

                                  18   is superfluous because it is redundant of other language in the claims.” CoolIT Response Brief at

                                  19   3. As is apparent from the language of the claims above, if Asetek’s proposed construction were

                                  20   to be adopted, the claims would read repetitively. For example, the relevant part of Claim 1 of the

                                  21   ’764 Patent would read: “a two-sided structure, each side of which supports a pump

                                  22   component adapted to mount a pump configured to circulate a cooling liquid, the pump

                                  23   comprising a stator and an impeller, the impeller being positioned on the underside of the chassis

                                  24   and the stator being positioned on the upper side of the chassis.” The relevant part of Claim 10 of

                                  25   the ’355 Patent would read: “a two-sided structure, each side of which supports a pump

                                  26

                                  27
                                       1
                                         In the specification of ’764 Patent: “FIG. 17 shows a preferred possible embodiment of a
                                       reservoir according to the invention. The reservoir housing 14, as shown in FIGS. 17 and 20, is in
                                  28   the form of a double-sided chassis configured to mount an electrical motor.” ’764 Patent at
                                       21:12–15; ’355 Patent at 21:48–52.
                                                                                         6
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                                   1   component adapted to mount a pump configured to circulate a cooling liquid, the pump

                                   2   comprising a stator and an impeller, the impeller being positioned on a first side of the chassis and

                                   3   the stator being positioned on the opposite side of the chassis.”

                                   4          Asetek argues that “[t]he claims also make it clear that each side of the ‘double-sided

                                   5   chassis’ supports a pump component.” Asetek Opening Brief at 7. However, it is precisely

                                   6   because the claims already contain the limitation language Asetek seeks to additionally import.

                                   7   Asetek’s proposed construction is neither necessary nor helpful.

                                   8          Turning next to the specifications, Asetek notes that “none of the patent specifications

                                   9   limits the ‘double-sided chassis’ to a ‘frame’ structure or ‘base.’” Asetek Opening Brief at 7. To

                                  10   the contrary, the specifications describe the double-sided chassis expansively: “The reservoir

                                  11   housing 14, as shown in FIGS. 17 and 20, is in the form of a double-sided chassis configured to

                                  12   mount an electrical motor. The reservoir housing 14 has basically the same features as the
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                                  13   reservoir housing shown in FIG. 15-16. In the embodiment shown, the reservoir substantially has

                                  14   a conical, circular configuration and is provided with stiffening ribs 36 extending axially along the

                                  15   exterior of the reservoir housing 14.” ’764 Patent at 21:13–21; ’355 Patent at 21:49–57; ’681

                                  16   Patent at 21:49–58. The specifications also note: “Other shapes such as cylindrical, circular, or

                                  17   conical rectangular or cylindrical, rectangular or even oval or triangular shapes may be

                                  18   adopted . . . .” ’764 Patent at 21:22–25; ’355 Patent at 21:58–63; ’681 Patent at 21:59–63. Thus,

                                  19   the specification contemplates a wide range of reservoir designs, which Asetek asserts (and

                                  20   CoolIT does not contest) translates to a wide range of double-side chassis designs. Accordingly,

                                  21   the specifications do not suggest a structural or design limitation that would confine the term

                                  22   chassis to a narrow meaning. Asetek Opening Brief at 7. More specifically, Asetek also notes

                                  23   that the double-sided chassis in the ’764 Patent is located at the top of the liquid cooling device,

                                  24   not at the base. Asetek Opening Brief at 8. Asetek therefore contends that it would be improper

                                  25   to include the word “base” in the construction of the term “double-sided chassis.” Id.

                                  26          CoolIT contends that, in a prior litigation, Asetek previously agreed to construe the term

                                  27   “double-sided chassis” as “a two-sided frame or housing, each side of which has a purpose,”

                                  28   which was adopted by the court in that case. See Asia Vital Components Co. v. Asetek Danmark
                                                                                          7
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                                   1   A/S, No. 16-CV-07160-JST, 2018 WL 452109, at *7 (N.D. Cal. Jan. 17, 2018). CoolIT therefore

                                   2   argues that Asetek’s prior position supports CoolIT’s proposed construction because they both

                                   3   contain the word “frame” and because that prior construction was less restrictive than what Asetek

                                   4   advances now. CoolIT Response Brief at 2. However, the prior construction is materially

                                   5   different from what CoolIT currently proposes (because it omits the second part of the prior

                                   6   construction), and Asetek also asserts that it shouldn’t be held to that prior construction because

                                   7   the term “double-sided chassis” “did not have a direct bearing on infringement or validity of

                                   8   Asetek’s patent claims” in the prior litigation. Asetek’s Reply in Support of Its Claim

                                   9   Construction Brief (“Asetek Reply Brief”) at 3, Docket No. 114.

                                  10          In light of (1) the parties’ agreement to the words “two-sided,” (2) the fact that the second

                                  11   part of Asetek’s proposed definition (“each side of which supports a pump component”) is

                                  12   redundant with the other claim language, (3) the fact that the term “base” appears inconsistent with
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                                  13   the depictions of the invention in the ‘764 Patent, and (4) the fact that Asetek conceded at the

                                  14   claim construction hearing for the instant case it was amendable to the word “frame,” instead of

                                  15   the word “structure,” the Court will construe the term as “two-sided frame.”

                                  16                   b.      a first end or a second end of the thermal exchange chamber

                                  17
                                                             Asetek’s Proposed           CoolIT’s Proposed            Court’s Construction
                                  18    Claim Term           Construction                Construction
                                        “a first end or a    No construction needed:     “a first edge or a second    No construction
                                  19    second end of        plain and ordinary          edge of the thermal          necessary.
                                        the thermal          meaning.                    exchange chamber”
                                  20    exchange
                                        chamber”
                                  21
                                        ’355 patent,
                                  22    claim 2
                                  23

                                  24          The dispute regarding this term focuses on whether the term “end” should be construed to
                                  25   be “edge.” Asetek contends that doing so would exclude a preferred embodiment. The term
                                  26   appears in Claim 2 of the ’355 Patent:
                                  27
                                                       •    The cooling system of claim 1, wherein the thermal exchange
                                  28                        chamber includes at least one second passage configured to
                                                            direct the cooling liquid out of the thermal exchange chamber,
                                                                                            8
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                                                          the [sic] at least one second passage is positioned at either a first
                                   1                      end or a second end of the thermal exchange chamber.”
                                   2   ’355 Patent at 28:48–53. Asetek contends that the term “a first end or a second end of the thermal

                                   3   exchange chamber” does not require construction and should be given its plain and ordinary

                                   4   meaning, arguing only that “this phrase is written in plain English and the jury will have no

                                   5   trouble understanding its meaning in the context of the surrounding claim language.” Asetek

                                   6   Opening Brief at 8. CoolIT contends that, because Asetek took a different position and

                                   7   recommended construction of this term in the parties’ Joint Claim Construction and Prehearing

                                   8   Statement, its current position has no credibility and should be rejected. CoolIT Response Brief at

                                   9   4. CoolIT further contends that that “the plain and ordinary meaning of the word ‘end’ is just a

                                  10   boundary or an ‘edge.’” Id.

                                  11          Asetek asserts that one of the preferred embodiments of the ’355 Patent would be excluded

                                  12   if CoolIT’s proposed construction were adopted. Id. Specifically, it contends that the
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                                  13   embodiment depicted in FIGS. 17 and 20 would be excluded because the cooling liquid passage it

                                  14   depicts is located “at the end of the thermal exchange chamber . . ., but not at the ‘edge,’ i.e. the

                                  15   extremity or margin of the chamber.” Id. (emphasis added).

                                  16

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                                  24   Asetek Opening Brief at 9 (annotations added by Asetek). However, CoolIT contends that the

                                  25   preferred embodiment would be included because FIG. 17 (which offers a different vantage point

                                  26   of the same components) shows that the second passage 49 is located at the edge of the chamber.

                                  27   CoolIT Response Brief at 4–5.

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                                  11   CoolIT Response Brief at 4 (annotations added by CoolIT). This depiction appears to show that
                                  12   the second passage 49 is located at the edge. Accordingly, construing the term as “a first edge or a
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                                  13   second edge of the thermal exchange chamber,” would not exclude a preferred embodiment.
                                  14          Nonetheless, even if construing the term in this way would not exclude a preferred
                                  15   embodiment, the limitation should not freely be imported from the specification. Teleflex, Inc. v.
                                  16   Ficosa N. Am. Corp., 299 F.3d 1313, 1328 (Fed. Cir. 2002) (noting that the district court erred by
                                  17   important a limitation from the specification into the claim). In ordinary parlance, the term “edge”
                                  18   has a narrower meaning than the term “end.” Compare, e.g., “Edge.” Merriam-Webster.com
                                  19   Dictionary, MERRIAM-WEBSTER (July 10, 2020) https://www.merriam-
                                  20   webster.com/dictionary/edge (“the narrow part adjacent to a border” (emphasis added)); with
                                  21   “End.” Merriam-Webster.com Dictionary, MERRIAM-WEBSTER (July 5, 2020),
                                  22   https://www.merriam-webster.com/dictionary/end (“the part of an area that lies at the boundary”).
                                  23   For example, a component can be located at the end of something, while not being located at the
                                  24   edge of that thing. Asetek produces no convincing evidence that the claim was intended to
                                  25   employ a meaning difference from ordinary parlance.
                                  26          Thus, because construing the word “end” to mean “edge” would impermissibly narrow the
                                  27   language of the claim, the Court declines to construe this word. It will, at this juncture adhere to
                                  28   its plain and ordinary meaning.
                                                                                        10
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                                   1                    c.     stator/ stator... isolated from the cooling liquid

                                   2
                                                             Asetek’s Proposed            CoolIT’s Proposed             Court’s Construction
                                   3    Claim Term           Construction                 Construction
                                        “stator”/            No construction needed       “stator”: “the stationary     stator: “stationary
                                   4    “stator...           for the entire phrase        parts of the motor during     parts of the motor
                                        isolated from        “stator... isolated from     its operation”                that perform or
                                   5    the cooling          the cooling liquid”: plain                                 support an electrical
                                        liquid”              and ordinary meaning         If the entire limitation      or magnetic function
                                   6                                                      “stator ... isolated from     of the motor”
                                        ’764 patent,         If the Court determines      the cooling liquid” is
                                   7    claims 1, 10,        that the term “stator”       construed, then: “no part
                                        and 15               should be construed, then    of the stator is in contact
                                   8                         the entire phrase “stator    with the cooling liquid
                                        ’681 patent,         ... isolated from the
                                   9    claims 1, 8, and     cooling liquid” should be
                                        11                   construed, and as
                                  10                         follows: “the stationary
                                                             active parts of the motor
                                  11                         do not come in contact
                                                             with the cooling liquid”
                                  12
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                                                             If only stator is
                                  13                         construed, then: “the
                                                             stationary active parts of
                                  14                         the motor”
                                  15

                                  16          The parties’ dispute regarding these terms focuses on the clarification of which of the non-
                                  17   moving parts of a motor are encompassed by the term “stator.” Specifically, if construction is
                                  18   necessary, Asetek wishes to clarify that “only the active parts of the motor that remain stationary
                                  19   during operations constitute the ‘stator,’ not all stationary parts.” Asetek Opening Brief at 12
                                  20   (emphasis added). By “active” Asetek means “active/electrical,” i.e. parts that would short-circuit
                                  21   if they came into contact with liquid. CoolIT, for its part, contends that “the stator comprises also
                                  22   the portion that supports the stationary active parts and not just the stationary active parts
                                  23   themselves.” CoolIT Response Brief at 8.
                                  24          Although the term also appears elsewhere, by way of example, the term appears in the
                                  25   following claims of the ’764 and ’681 Patents:
                                  26              •     “A cooling system for a heat-generating component, comprising: a double-sided
                                                        chassis adapted to mount a pump configured to circulate a cooling liquid, the pump
                                  27                    comprising a stator and an impeller, the impeller being positioned on the underside
                                                        of the chassis and the stator being positioned on the upper side of the chassis
                                  28                    and isolated from the cooling liquid.” ’764 Patent at 27:39–46 (Claim 1).
                                                                                          11
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                                                   •   “A cooling system for a computer system, comprising: a centrifugal pump adapted
                                   1                   to circulate a cooling liquid, the pump including: an impeller exposed to the
                                                       cooling liquid; and a stator isolated from the cooling liquid . . . .” ’764 Patent at
                                   2                   28:27–31 (Claim 10).
                                                   •   “A liquid cooling system for cooling a heat-generating component of a computer,
                                   3                   comprising: a double-sided chassis adapted to mount a pump configured to
                                                       circulate a cooling liquid, the pump comprising a motor with a stator and an
                                   4                   impeller, the impeller being positioned on one side of the chassis and the stator
                                                       being positioned on an opposite side of the chassis and isolated from the
                                   5                   cooling liquid.” ’681 Patent at 28:18–25 (Claim 1).
                                                   •   “The liquid cooling system of claim 8, wherein the double-sided chassis housing
                                   6                   defines a recess configured to house the stator.” ’681 Patent at 30:29–31 (Claim
                                                       11).
                                   7

                                   8   In examining this language, Asetek does not contend that the language of the claims makes clear

                                   9   that only the active parts of the stator are isolated from the liquid, but rather asserts that “even a

                                  10   lay juror would understand that the active/electrical elements of the motor must be shielded from

                                  11   the cooling liquid to prevent shorting,” Asetek Opening Brief at 10 (emphasis in original).

                                  12           Turning to the language of the specification, Asetek asserts that the specifications describe
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                                  13   the stator as involving “active elements,” id., however—like the claims—the specifications do not

                                  14   make clear that only active elements are isolated from the liquid. See, e.g., ’764 Patent at 25:49–

                                  15   62 (“FIG. 18 shows an embodiment of an AC motor in which one stator pole 54 is longer than the

                                  16   other stator pole 55 by an amount indicated by 1. With this configuration the permanent-magnet

                                  17   rotor 39 with an ideal line 56 separating the north N and the south S of the rotor, is positioned so

                                  18   that the ideal line 56 do not coincide with the median axis 57 of the stator 37, but so that the ideal

                                  19   line 56 is tilted by a certain angle .alpha. in respect to the median 57 of the stator 37. Two

                                  20   energizing windings 58, 59 are provided on the two poles 54,55 of the stator 37, respectively, and

                                  21   the energizing windings are connected in series and are powered, through terminals (not shown),

                                  22   by an AC power source. With this configuration of the AC motor, the motor is able to start more

                                  23   easily in an intended rotational direction of the rotor.”).

                                  24   ///

                                  25   ///

                                  26   ///

                                  27   ///

                                  28   ///
                                                                                          12
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                                   1             The Court also examined FIG. 17 of the ’764 Patent.

                                   2

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                                  13

                                  14   In relevant part, the ’764 Patent describes the stator 37 in FIG. 17 as follows: “a liquid-proof

                                  15   division is made between the rotor 39 of the motor, said rotor 39 being placed inside the interior of

                                  16   the jacket 44 and being submerged in the cooling liquid, and the stator 37 of the pump, said stator

                                  17   37 being positioned in the recess 40 and surrounding the exterior of the jacket 44. Accordingly,

                                  18   the stator 37 need not be sealed against the cooling liquid, because the recess 40 together with the

                                  19   jacket 44 ensures the stator staying dry from the cooling liquid, but the stator 37 still being capable

                                  20   of driving the rotor 39, when being supplied with electrical power from a power supply (not

                                  21   shown) of the computer system.” ’764 Patent at 21:41–51. Thus, both the matrix shape of the

                                  22   stator 37 and the fact that the stator 37 “surround[s] the exterior of the jacket 44” indicate that the

                                  23   stator includes the structural components that CoolIT alleges are properly considered part of the

                                  24   stator.

                                  25             The parties also focus much of their analysis on testimony given by their experts during

                                  26   deposition, which primarily serves to support each party’s own construction of the term. For

                                  27   example, CoolIT’s expert (Dr. Pokharna) offered the following testimony regarding the term

                                  28   “stator” during his deposition:

                                                                                         13
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                                   1                  Q. When you say that a stator is the stationary part of the motor
                                                      during its operation, what parts are you considering as the stator?
                                   2
                                                      A: The primary parts that I'm considering are the functional parts of
                                   3                  the motor. I'm not -- I'm -- again in a motor, I'm only worried about
                                                      the functional part of the motor. So there is a stator which consists
                                   4                  of things like windings, coils, separator for the coils, mounting
                                                      assembly for the coils. These are all providing an assembly for what
                                   5                  I call the stationary part of the motor, stator. It's the functional
                                                      element within the motor that remains -- that does not rotate, that
                                   6                  does not move. That's really what I mean by stator.
                                   7   Pokharna Dep. at 54–55 (objections and reporter comments omitted). Asetek’s expert, Dr. Tilton,

                                   8   also offered deposition testimony on the term “stator”:

                                   9                  Q. What is a stator?
                                  10                  A. Well, the stator is the stationary active electrical element. It's not
                                                      rotating, but it's the part that -- like, for example, in a burstless DC
                                  11                  motor you have an electric motor that's commutated and the
                                                      electrical current switches in the coils so that that can be used to
                                  12                  create a rotating magnetic field, and that interacts with the magnetic
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                                                      field in the rotor to make it spin.
                                  13
                                                      Q. So the stator has to be electrical?
                                  14
                                                      A. Yes, the stator has an electrical function.
                                  15

                                  16   Tilton Dep. at 92–93 (objections and reporter comments omitted). However, Dr. Tilton also

                                  17   acknowledged that, at times, he has used the terms “stator” and “stator assembly” interchangeably:

                                  18                  Q. (by Kyle Chen) And when you used the term stator, you believe
                                                      you have always used the term consistently; correct?
                                  19
                                                      A. (by Dr. Tilton) I think with respect to the term stator, it being
                                  20                  the active electric element of a motor, I've always used stator to
                                                      mean that. When I use the term stator sometimes, just in the context
                                  21                  of talking, you're referring to the whole stator assembly. So I guess
                                                      if there's an inconsistency, it would be in some cases you're referring
                                  22                  to the stator as being the active electrical element and some cases
                                                      you might be referring to it as the entire stator assembly.
                                  23
                                                      Q. But you think that you have used the term stator consistently;
                                  24                  correct?
                                  25                  A. With the exception of what I just described, yeah. I said in some
                                                      cases you're casually -- or you're referring to stator as the whole
                                  26                  stator assembly as opposed to just the active electrical element.
                                  27                  Q. So you have used the term stator to mean stator assembly;
                                                      correct?
                                  28
                                                                                         14
                                        Case 3:19-cv-00410-EMC Document 149 Filed 07/22/20 Page 15 of 45



                                                      A. I have used that in some discussions.
                                   1

                                   2   Tilton Dep. at 146–47. Although Asetek contends Dr. Tilton used the terms synonymously only

                                   3   because (1) the term “stator” was not a disputed term in the litigation in which Dr. Tilton used

                                   4   these terms interchangeably, and (2) it is “being discussed at a more granular level in this action,”

                                   5   Asetek Reply Brief at 7, it is nonetheless significant that Dr. Tilton saw fit to use the terms

                                   6   interchangeably even in a somewhat different context. It suggests that, to a certain degree, the

                                   7   term “stator” can and does encompass the mechanical components associated with the term “stator

                                   8   assembly” as understood by those skilled in the art.

                                   9          Finally, the parties refer to definitions of “stator” provided in engineering dictionaries.

                                  10   Asetek relies on the following two definitions:

                                  11              •   Comprehensive Dictionary of Electrical Engineering – the portion of a motor

                                  12                  that includes and supports the stationary active parts. The stator includes the
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                                  13                  stationary portions of the magnetic circuit and the associated windings and leads.

                                  14              •   Dictionary of Electrical and Computer Engineering – [ELEC] The portion of a

                                  15                  rotating machine that contains the stationary parts of the magnetic circuit and their

                                  16                  associated windings.

                                  17   Asetek Opening Brief at 11. While CoolIT relies on the following definitions:

                                  18              •   Motors for Makers. A Guide to Steppers, Servos, and Other Electric Machines

                                  19                  - There are two ways to look at the motor’s structure – mechanically and

                                  20                  electrically. From a mechanical standpoint, the motor consists of two parts. The

                                  21                  rotor is the part that moves and the stator is the part that stays in place. (italics in

                                  22                  original)

                                  23              •   Improving Motor and Drive System Performance (released by the U.S.

                                  24                  Department of Energy) – The stationary part of a motor’s magnetic circuit. In

                                  25                  induction motors, it is the outer annular iron structure containing the power

                                  26                  windings. (This definition was also included in the parties’ Joint Claim

                                  27                  Construction Statement. See Docket No. 67.)

                                  28   CoolIT Responsive Brief at 6, 7. The first of Asetek’s dictionary definitions includes the phrase
                                                                                         15
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                                   1   “the portion of a motor that includes and supports the stationary active parts,” while the second

                                   2   definition includes the phrase the “portion of a rotating machine that contains the stationary parts.”

                                   3   Both of these explanations suggest that structural and/or supportive non-moving parts would

                                   4   properly be considered part of the stator.

                                   5          Given the intrinsic and extrinsic evidence, the Court will construe the term “stator” as

                                   6   “stationary parts of the motor that perform or support an electrical or magnetic function of the

                                   7   motor.”

                                   8                    d.      intermediate member

                                   9
                                                                Asetek’s Proposed          CoolIT’s Proposed           Court’s
                                  10    Claim Term              Construction               Construction                Construction
                                        “intermediate           No construction needed.    Means-plus-function         Not a means-plus-
                                  11    member”                                            element.                    function term.
                                                                If the Court determines
                                  12    ’764 patent,            that the term should be    Corresponding
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                                        claims 15 and 16        construed, then:           structures: Element 47 in
                                  13                            “structure between         FIGS. 17 and 20 of ’764
                                        ’681 patent,            impeller cover and heat    and ’681;
                                  14    claims 8 and 16         exchange/heat-
                                                                exchanging interface”      Functions in ’764: as to
                                  15                                                       claim 15, for partially
                                                                                           defining the thermal
                                  16                                                       exchange chamber; as to
                                                                                           claim 16: for providing a
                                  17                                                       second passage that is
                                                                                           aligned with the first
                                  18                                                       opening.
                                  19                                                       Functions in ’681: as to
                                                                                           claim 8, for partially
                                  20                                                       defining the pump
                                                                                           chamber, for coupling to
                                  21                                                       the heat-exchanging
                                                                                           interface, and for
                                  22                                                       defining a first passage;
                                                                                           as to claim 16, for
                                  23                                                       removably coupling to
                                                                                           the heat-exchanging
                                  24                                                       interface.
                                  25

                                  26          CoolIT asserts that “intermediate member” is a means-plus-function term. “Means-plus-
                                  27   function claiming occurs when a claim term is drafted in a manner that invokes 35 U.S.C. § 112,
                                  28   para. 6, which states:
                                                                                          16
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                                   1                  An element in a claim for a combination may be expressed as a
                                                      means or step for performing a specified function without the recital
                                   2                  of structure, material, or acts in support thereof, and such claim shall
                                                      be construed to cover the corresponding structure, material, or acts
                                   3                  described in the specification and equivalents thereof.
                                   4   35 U.S.C. § 112. “In enacting this provision, Congress struck a balance in allowing patentees to

                                   5   express a claim limitation by reciting a function to be performed rather than by reciting structure

                                   6   for performing that function, while placing specific constraints on how such a limitation is to be

                                   7   construed, namely, by restricting the scope of coverage to only the structure, materials, or acts

                                   8   described in the specification as corresponding to the claimed function and equivalents thereof.”

                                   9   Williamson v. Citrix Online, LLC, 792 F.3d 1339, 1347 (Fed. Cir. 2015). Asetek notes that, in the

                                  10   parties’ previous litigation, CoolIT did not identify this term as a mean-plus-function term.

                                  11   Asetek Opening Brief at 12.

                                  12          This term appears in Claims 15 and 16 of the ’764 patent and in Claims 8 and 16 of the
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                                  13   ’681 patent:

                                  14      •   “A cooling system for a heat-generating component, comprising: . . . a reservoir including
                                              an impeller cover, an intermediate member and a heat exchange interface, wherein a top
                                  15          wall of the reservoir and the impeller cover define a pump chamber for housing the
                                              impeller, and the intermediate member and the heat exchange interface define a thermal
                                  16          exchange chamber, the pump chamber and the thermal exchange chamber being spaced
                                              apart from each other in a vertical direction and fluidly coupled together.” ’764 Patent at
                                  17          28:57–29:4 (Claim 15).
                                          •   “The cooling system of claim 15, wherein the impeller cover includes a first opening
                                  18          radially offset from a center of the impeller and the intermediate member includes a
                                              second passage that is aligned with the first opening, the first and the second opening being
                                  19          configured to direct the cooling liquid from the pump chamber into the thermal exchange
                                              chamber.” ’764 Patent at 30:1–6 (Claim 16).
                                  20      •   “A liquid cooling system for cooling a heat-generating component of a computer,
                                              comprising: a pump chamber housing an impeller, the pump chamber being defined by an
                                  21          intermediate member and a double-sided chassis” . . . “a heat-exchanging interface
                                              coupled to the intermediate member” . . . “wherein the pump chamber includes: . . . an
                                  22          outlet that fluidly couples the pump chamber to the thermal exchange chamber via a first
                                              passage defined by the intermediate member” . . . “wherein the intermediate member
                                  23          defines at least one second passage configured to direct the cooling liquid out of the
                                              thermal exchange chamber.” ’764 Patent at 29:21–30:19 (Claim 8).
                                  24      •   “The liquid cooling system of claim 8, wherein the heat-exchanging interface is removably
                                              coupled to the intermediate member.” ’764 Patent at 30:44–46 (Claim 16).
                                  25

                                  26          In Williamson, the court noted: “To determine whether § 112, para. 6 applies to a claim

                                  27   limitation, our precedent has long recognized the importance of the presence or absence of the

                                  28   word ‘means.’” 792 F.3d at 1348. Accordingly, “failure to use the word ‘means’ . . . creates a
                                                                                        17
                                        Case 3:19-cv-00410-EMC Document 149 Filed 07/22/20 Page 18 of 45




                                   1   rebuttable presumption . . . that § 112, para. 6 does not apply.” Id.

                                   2          Here, because the claims do not use the word “means,” there is a rebuttable presumption

                                   3   that § 112, para. 6 does not apply. However, where the claims do not use the word “means” but

                                   4   “the challenger demonstrates that the claim term fails to ‘recite[] sufficiently definite structure’ or

                                   5   else recites ‘function without reciting sufficient structure for performing that function,’” the

                                   6   presumption can be overcome, and § 112, para. 6 will apply. Id. at 1348 (quoting Watts v. XL

                                   7   Sys., Inc., 232 F.3d 877, 880 (Fed.Cir.2000)). Asetek contends that “CoolIT cannot meet that

                                   8   burden because the claim term ‘intermediate member’ is not recited in terms of its function and

                                   9   also because it connotes sufficient structure.” Asetek Opening Brief at 13.

                                  10          With respect to whether the term “intermediate member” is cited in functional terms,

                                  11   Asetek contends that it is not because the claims “do not describe the ‘intermediate member’ by

                                  12   what it does.” Asetek Opening Brief at 13. In response, CoolIT contends that Claim 15 of ’764
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                                  13   explains that “the intermediate member and the heat exchange interface define a thermal

                                  14   exchange chamber,” while Claim 16 states that “the intermediate member includes a second

                                  15   passage that is aligned with the first opening.” See CoolIT Response Brief at 10. Likewise, Claim

                                  16   8 of the ’681 Patent states that “the intermediate member defines at least one second passage

                                  17   configured to direct the cooling liquid out of the thermal exchange chamber,” while Claim 16 of

                                  18   the ’764 Patent states “the heat-exchanging interface is removably coupled to the intermediate

                                  19   member.” CoolIT reads this language (“define(s),” “includes,” and “coupled to”) as “functional.”

                                  20   However, as the text of the claims (above) demonstrates, these words do not state the “function” of

                                  21   the “intermediate member.” To the contrary, they describe structure more than they describe

                                  22   function.

                                  23          The term in question in Williamson – “a distributed learning control module for

                                  24   receiving communications transmitted between the presenter and the audience member computer

                                  25   systems and for relaying the communications to an intended receiving computer system and for

                                  26   coordinating the operation of the streaming data module,” 792 F.3d at 1344 – was described in

                                  27   functional terms as: receiving communications transmitted between the presenter, relaying the

                                  28   communications to an intended receiving computer system and, coordinating the operation of the
                                                                                         18
                                        Case 3:19-cv-00410-EMC Document 149 Filed 07/22/20 Page 19 of 45




                                   1   streaming data module. Those stated functions in Williamson stand in contrast to the more

                                   2   structural nature of the roles played by the “intermediate member” at issue here. Here, the claims

                                   3   describe how the “intermediate member” interacts with other component parts to inform structural

                                   4   components of the invention. See also, e.g., Finjan, Inc., v. Proofpoint, Inc., No. 13-CV-05808-

                                   5   HSG, 2015 WL 7770208, at *11 (N.D. Cal. Dec. 3, 2015) (quoting Williamson, 792 F.3d at 1350)

                                   6   (“Unlike Williamson, where the term ‘module’ was ‘simply a generic description for software or

                                   7   hardware that performs a specified function,’ here, the intrinsic evidence establishes the structural

                                   8   character of ‘content processor’ through its interaction with the system’s other components.”).

                                   9   Moreover, the fact that the term “intermediate member” is grammatically coupled with, e.g., “a

                                  10   heat exchange interface” (see Claim 15) which is clearly not a means-plus-function term, further

                                  11   demonstrates it is not such a term.

                                  12          Accordingly, “intermediate member” is not a means-plus-function term. Because the
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                                  13   parties do not advance arguments in favor of construction outside of CoolIT’s contention that

                                  14   Section 112 should apply, the Court will not otherwise construe this term.

                                  15          2.       Disputed Terms of the CoolIT Patents

                                  16                   a.     fluid heat exchanger

                                  17
                                                             CoolIT’s Proposed            Asetek’s Proposed           Court’s
                                  18    Claim Term           Construction                 Construction                Construction
                                  19    “fluid heat          “component(s)                “Component that             “component that
                                        exchanger”           configured to transfer       transfers heat from an      transfers heat from a
                                  20                         energy to or from a fluid    electronic heat source to   heat source to a
                                                             through convection”          a cooling liquid            cooling liquid
                                        ’330 patent,                                      circulated by a pump        circulated by a
                                  21    claims 1, 2, 4, 6,                                that is external to the     pump that is
                                        12, 14, 15                                        component”                  external to the
                                  22
                                                                                                                      component”
                                  23    ’284 patent,
                                        claims 1, 3, 4, 5,
                                  24    6, 15, 19, 20, 21,
                                        29
                                  25

                                  26    ’266 patent,
                                        claims 13, 14, 15
                                  27

                                  28
                                                                                         19
                                        Case 3:19-cv-00410-EMC Document 149 Filed 07/22/20 Page 20 of 45




                                   1          The key dispute here is whether the pump is external to the fluid heat exchanger

                                   2   component. The term appears in of a number of the patents-in-suit and many of the claims; for

                                   3   example:

                                   4              •   A fluid heat exchanger comprising:
                                                      a heat spreader plate defining an upper surface;
                                   5                  a plurality of fins extending from respective proximal ends positioned adjacent the
                                                          upper surface of the heat spreader plate to respective distal ends positioned dis
                                   6                      tally from the upper surface of the heat transfer plate, wherein the plurality of
                                                          fins defines a corresponding plurality of microchannels configured to direct a
                                   7                      heat transfer fluid over the heat spreader plate, wherein each microchannel in
                                                          the plurality of microchannels has a first end and an opposite end, wherein each
                                   8                      microchannel in the plurality of microchannels extends substantially parallel
                                                          with each other microchannel in the plurality of microchannels and has a
                                   9                      continuous channel flow path between its respective first end and its respective
                                                          opposite end;
                                  10                  a plate positioned over the distal ends of the plurality of fins and the corresponding
                                                          plurality of microchannels to close off the plurality of microchannels adjacent
                                  11                      the distal ends of the plurality of fins, wherein the plate positioned over the
                                                          plurality of distal fin ends defines an elongate fluid inlet opening overlying and
                                  12                      extending transversely relative to the plurality of microchannels between the
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                                                          plurality of microchannel first ends and opposite ends, wherein the plate is so
                                  13                      positioned over the plurality of fins as to define a first fluid outlet opening from
                                                          each microchannel in the plurality of microchannels at each of the
                                  14                      microchannel first ends and an opposite fluid outlet opening from each
                                                          microchannel in the plurality of microchannels at each of the microchannel
                                  15                      opposite ends;
                                                      a housing spaced from the plate positioned over the plurality of distal fin ends,
                                  16                      wherein the housing defines an inlet and an outlet, wherein the inlet defined by
                                                          the housing opens to an inlet header and at least the first fluid outlet opening
                                  17                      from each microchannel in the plurality of microchannels opens to an outlet
                                                          header, wherein the outlet defined by the housing opens from the outlet header,
                                  18                      and
                                                      a seal extending between the housing and the plate positioned over the plurality of
                                  19                      distal fin ends, wherein the elongate fluid inlet opening defined by the plate
                                                          extends between a proximal end and a distal end, wherein a region of the inlet
                                  20                      header is positioned adjacent a first side of the fins and a region of the outlet
                                                          header is positioned adjacent the second side of the fins, and wherein the fins,
                                  21                      the plate, the housing, and the seal are arranged such that the heat transfer fluid
                                                          is directed from the inlet opening to the inlet header, through the elongate fluid
                                  22                      inlet opening defined by the plate and into the microchannels, from the
                                                          microchannels to the outlet header, and from the outlet header to the outlet
                                  23                      defined by the housing. ’330 Patent at 7:40–8:25 (Claim 1).
                                                  •    “A fluid heat exchanger according to claim 1 wherein the elongate fluid inlet
                                  24                  opening is positioned in the middle 50% of a length measured between the
                                                      microchannel first ends and the microchannel opposite ends.” ’330 Patent at 8:26–
                                  25                  29 (Claim 2).
                                                  •   “A fluid heat exchanger according to claim 1 wherein the heat spreader plate has
                                  26                  an intended heat generating component contact region in a known location on the
                                                      heat spreader plate and wherein the fluid inlet opening is positioned adjacent a
                                  27                  central region of the intended heat generating component contact region.” ’330
                                                      Patent at 8:34–39 (Claim 4).
                                  28
                                                                                         20
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                                   1           CoolIT contends that “the term ‘fluid heat exchanger’ appears only in the preambles of the

                                   2   claims and should therefore not be limiting. This is because the phrase does not recite essential

                                   3   structure or steps, it is not necessary to give life, meaning, and vitality to any claim, and it does not

                                   4   provide antecedent basis for any limitations.” CoolIT’s Opening Claim Construction Brief

                                   5   (“CoolIT Opening Brief”) at 10, Docket No. 105. However, the cases cited by CoolIT indicate

                                   6   that, contrary to what CoolIT represents (that terms appearing only in the preambles of claims

                                   7   should not be limiting), the rule is narrower: that preamble language that states a purpose or use of

                                   8   the invention is not to be treated as limiting. See, e.g., In re Fought, 941 F.3d 1175, 1178 (Fed.

                                   9   Cir. 2019) (internal citations and quotation marks omitted) (“Preamble language that merely states

                                  10   the purpose or intended use of an invention is generally not treated as limiting the scope of the

                                  11   claim. However, the preamble constitutes a limitation when the claim(s) depend on it for

                                  12   antecedent basis.”); Arctic Cat Inc. v. GEP Power Prod., Inc., 919 F.3d 1320, 1328 (Fed. Cir.
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                                  13   2019) (internal citations and quotation marks omitted) (“We have long ruled that a preamble is not

                                  14   limiting where a patentee defines a structurally complete invention in the claim body and uses the

                                  15   preamble only to state a purpose or intended use for the invention.”)). Moreover, the Federal

                                  16   Circuit has clarified:

                                  17                   That rule is grounded in the statutory distinction, in identifying the
                                                       permissible subject matter of a patent claim, between a physical
                                  18                   product (which may be defined in part by its claimed functional
                                                       capabilities) and activities that constitute a process (which may
                                  19                   include a new “use” of a known invention). In particular, the rule
                                                       against giving invention-defining effect to intended-use preamble
                                  20                   language reflects a longstanding substantive aspect of the patent
                                                       statute—specifically, the “well settled” fundamental principle “that
                                  21                   the recitation of a new intended use for an old product does not
                                                       make a claim to that old product patentable.”
                                  22

                                  23   Arctic Cat, 919 F.3d at 1328 (internal citations omitted). Accordingly, because the preambles in

                                  24   the relevant claims do not state a purpose or use, it may be appropriate to permit the preamble to

                                  25   limit the claims in this context.

                                  26           In examining the patents’ specifications, the Court begins by noting that the patents at

                                  27   issue have titled their inventions differently. See UltimatePointer, L.L.C. v. Nintendo Co., 816

                                  28   F.3d 816, 823 (Fed. Cir. 2016) (citing Exxon Chem. Patents, Inc. v. Lubrizol Corp., 64 F.3d 1553,
                                                                                          21
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                                   1   1557 (Fed. Cir. 1995)) (using patent title to inform claim construction); but see Pitney Bowes, Inc.

                                   2   v. Hewlett-Packard Co., 182 F.3d 1298, 1312 (Fed. Cir. 1999) (noting “[t]he near irrelevancy of

                                   3   the patent title to claim construction”). The ’266 Patent protects “Fluid Heat Exchange Systems,”

                                   4   (emphasis added) while the ’284 and ’330 Patents protect a “Fluid Heat Exchanger Configured to

                                   5   Provide a Split-Flow” (emphasis added). The specifications of the ’284 and ’330 Patents, which

                                   6   protect a fluid heat exchanger, each mention the word “pump” only once, and they do so only to

                                   7   note that the split-flow design lessens the force required to pump liquid through the heat

                                   8   exchanger. See ’284 Patent at 6:23–24 (the sole mention of the word “pump” in the ’284 Patent

                                   9   notes that the split-flow design “lessens the pump force required to move the fluid through the

                                  10   heat exchanger”); ’330 Patent at 6:10–12 (the sole mention of the word “pump” in the ’330 Patent

                                  11   notes that the split-flow design “lessens the pump force required to move the fluid through the

                                  12   heat exchanger”). Moreover, the word “pump” does not even appear as a noun in those two
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                                  13   patents; instead, it merely modifies the word “force.” Id. In contrast, the ’266 Patent, which

                                  14   protects “Fluid Heat Exchange Systems,” mentions and discusses the word “pump” dozens of

                                  15   times. See generally ’266 Patent. Although the terms of one patent generally do not define the

                                  16   terms of a separate independent patent, it suggests that those skilled in the arts understood there is

                                  17   a difference between a heat exchange “system” and a heat exchanger itself.

                                  18          Significantly, neither the ’330 nor the ’284 Patent mention the concept of a pump. While

                                  19   the Court is mindful of the rule that importing limitations from the specification is inappropriate,

                                  20   see, e.g., Teleflex, 299 F.3d at 1328 (noting that the district court erred by important a limitation

                                  21   from the specification into the claim); CollegeNet, Inc. v. ApplyYourself, Inc., 418 F.3d 1225,

                                  22   1231 (Fed. Cir. 2005) (“this court will not at any time import limitations from the specification

                                  23   into the claims.”), it is appropriate to consider the specification for proper context about the

                                  24   meaning of a contested term. See CollegeNet, 418 F.3d at 1231; AquaTex Indus., Inc. v.

                                  25   Techniche Sols., 419 F.3d 1374, 1382 (Fed. Cir. 2005) (looking to “[t]he combined teachings

                                  26   within the specification” for evidence of how one of ordinary skill in the art would understand a

                                  27   term). See generally Baldwin Graphic Sys., Inc. v. Siebert, Inc., 512 F.3d 1338, 1345 (Fed. Cir.

                                  28   2008) (quoting Phillips, 415 F.3d at 1323) (“[I]n Phillips . . . , this court acknowledged the
                                                                                         22
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                                   1   difficult distinction between ‘using the specification to interpret the meaning of a claim and

                                   2   importing limitations from the specification into the claim’” and added that “the distinction is

                                   3   manageable ‘if the . . . focus remains on understanding how a person of ordinary skill in the art

                                   4   would understand the claim terms.’”). Here, the fact that the ’330 and ’284 patents never mention

                                   5   or depict a pump component suggests that a pump is not part of what the patentee claimed.

                                   6          Indeed, this conclusion is affirmatively reinforced by the specification of the ’266 Patent.

                                   7   The figure below shows FIG. 7.

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                                  23   CoolIT contends that defining “fluid heat exchanger” to have an external pump would exclude this

                                  24   embodiment of the invention, which contemplates “an integrated pump and heat exchanger

                                  25   assembly.” ’266 Patent at 5:42–43. Because FIG. 7 shows a pump “integrated with a “heat

                                  26   exchanger,” CoolIT contends that this embodiment indicates that the pump need not be external to

                                  27   the fluid heat exchanger. However, during his deposition, CoolIT’s expert labeled the area 313 as

                                  28   the “pump component” and labeled 320 as the “fluid heat exchanger” as illustrated below. See
                                                                                        23
                                        Case 3:19-cv-00410-EMC Document 149 Filed 07/22/20 Page 24 of 45




                                   1   Declaration of Dr. Himanshu Pokharna (“Pokharna Decl.”), Docket No. 105-3.

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                                  14   That labeling is consistent with the explanation in the patent; as Asetek points out: “Figure 7 of the
                                  15   ’567 and the ’266 patents illustrates how subassembly 300 combines a pump 310, a heat
                                  16   exchanger 320, and a housing 330 having integrated fluid conduits. Heat exchanger 320 is
                                  17   specifically identified as the ‘lower-most face of the assembly 300.’ While the integrated
                                  18   assembly 300 includes a pump 310, the heat exchanger 320 does not. That is, pump 310 is distinct
                                  19   from, and external to, heat exchanger 320 within integrated subassembly 300.” Asetek Danmark
                                  20   A/S’s Responsive Claim Construction Brief (“Asetek Response Brief”) at 9–10, Docket No. 113
                                  21   (internal citations and some quotation marks omitted).
                                  22          CoolIT also asserts that “the specifications of the CoolIT Patents expressly state that, [a]s
                                  23   used herein, the terms ‘heat sink’ and ‘heat exchanger’ are interchangeable and mean a device
                                  24   configured to transfer energy to or from a fluid through convection (i.e., a combination of
                                  25   conduction and advection) heat transfer.” CoolIT Opening Brief at 10 (some internal quotation
                                  26   marks omitted) (citing ’567 Patent at 7:6–9; ’266 Patent at 7:16–21). Its contention is that this
                                  27   equivalency supports CoolIT’s assertion that a pump may be internal to the heat exchanger.
                                  28
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                                   1   However, as Asetek points out: “[E]lsewhere the ’266 patent notes that a pump assembly must be

                                   2   integrated with a heat sink to develop a heat exchange assembly/system, thus indicating that a

                                   3   pump is not included within a heat sink.” Asetek Response Brief at 11; see, e.g., ’266 Patent at

                                   4   1:37–39 (“For example, there remains a need for low-profile heat exchange assemblies (e.g.,

                                   5   integrated heat sink and pump assemblies).”). Thus, even assuming equivalency between the

                                   6   terms “heat sink” and “heat exchanger,” such an argument does not help CoolIT’s position.

                                   7          While mindful that a court generally does not read specifications as imposing limitations

                                   8   upon the claims, specifications may nonetheless shed light upon how a person of ordinary skill in

                                   9   the art would understand the claim terms, as is the case here. See, e.g., AquaTex Indus., 419 F.3d

                                  10   at 1382 (looking to “[t]he combined teachings within the specification” for evidence of how one of

                                  11   ordinary skill in the art would understand a term); Baldwin Graphic, 512 F.3d at 1345 (quoting

                                  12   Phillips, 415 F.3d at 1323) (noting that the “focus [when reading the specification] remains on
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                                  13   understanding how a person of ordinary skill in the art would understand the claim terms”). On

                                  14   this issue, the specifications are compelling. The Court construes the term “fluid heat exchanger”

                                  15   to mean “component that transfers heat from a heat source to a cooling liquid circulated by a pump

                                  16   that is external to the component.”

                                  17                      b.   inlet/outlet header & inlet/exhaust manifold

                                  18
                                                               CoolIT’s Proposed            Asetek’s Proposed           Court’s
                                  19    Claim Term             Construction                 Construction                Construction
                                  20    “[inlet/outlet]        “inlet header”: “a space     “a region into which, or    “inlet header”: “a
                                        header”                out from which the           out from which, several     space out from
                                  21                           liquid to be distributed     smaller channels lead”      which the liquid to
                                                               flows”                                                   be distributed
                                        ’330 patent, claims                                                             flows”
                                  22    1, 12, 14, and 15
                                                               “outlet header”: “a space
                                  23                           into which the collected                                 “outlet header”: “a
                                                               liquid flows”                                            space into which
                                  24                                                                                    the collected liquid
                                                                                                                        flows”
                                  25
                                        “[inlet/exhaust]       “inlet manifold”: “a         “manifold” should be        “inlet manifold”: “a
                                  26    manifold”              space out from which         construed the same as       space out from
                                                               the liquid to be             “header” to mean: “a        which the liquid to
                                  27                           distributed flows”           region into which, or out   be distributed
                                        ’567 patent, claims                                 from which, several         flows”
                                        1 and 28                                            smaller channels lead”
                                  28                           “exhaust manifold”: “a
                                                                                           25
                                        Case 3:19-cv-00410-EMC Document 149 Filed 07/22/20 Page 26 of 45



                                                               space into which the                                      “exhaust manifold”:
                                   1                           collected liquid flows”
                                        ’266 patent, claims                                                              “a space into which
                                   2    1 and 5                                                                          the collected liquid
                                                                                                                         flows”
                                   3

                                   4          “The parties agree that ‘inlet header’ and ‘inlet manifold’ should be construed the same
                                   5   way and that ‘outlet header’ and ‘exhaust manifold’ should be construed the same way.” CoolIT
                                   6   Opening Brief at 15. Both parties agree that the term should be construed.
                                   7          The terms appear in, for example, the following claims:
                                   8
                                                  •   “A fluid heat exchanger according to claim 14, wherein the inlet header region
                                   9                  juxtaposed with a first side of the plurality of juxtaposed fins constitutes a first
                                                      portion of an inlet header, wherein a second portion of the inlet header extends
                                  10                  transversely over the microchannels.” ’330 Patent at 10:11–16 (Claim 15).
                                                  •   “A heat exchange system comprising: . . . a compliant member matingly engaged
                                  11                  with the second side of the housing member, . . . wherein the compliant member
                                                      and the groove together define a portion of an inlet manifold configured to
                                  12                  hydraulically couple in parallel each of the microchannels to at least one other of
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                                                      the microchannels, and wherein the housing member further defines a portion of an
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                                  13                  inlet plenum, . . . wherein a portion of the compliant member occupies a portion of
                                                      the recessed region defined by the second side of the housing member and urges
                                  14                  against a corresponding wall of the recessed region while leaving a portion of the
                                                      recessed region defined by the second side of the housing member unoccupied to
                                  15                  define first and second exhaust manifold regions positioned opposite to each other
                                                      relative to the recessed groove and opening from end regions of the
                                  16                  microchannels.” ’567 Patent at 19:16–46.

                                  17          In support of its proposed construction, Asetek relies the following details from the
                                  18   patents’ specifications: (1) “[i]n the ’330 patent specification, only two regions of the fluid heat
                                  19   exchanger 100 are referred to as the ‘headers’—inlet header 112 and outlet header 126,” Asetek
                                  20   Response Brief at 18 (citing ’330 Patent at 3:66–4:3, 5:1–8), (2) “[n]owhere does the [’330] patent
                                  21   describe inlet opening 114 (through which cooling liquid enters the plurality of microchannels) or
                                  22   the outlet openings 124 (through which cooling liquid exits the plurality of microchannels) as
                                  23   ‘headers’ or portions of the ‘headers,’” id., and (3) to the contrary, “the specification distinctly
                                  24   separates the headers 112/126 from the openings 114/124,” id. (citing ’330 Patent at 3:66–4:3
                                  25   (“Fluid heat exchanger 100 further includes a fluid inlet passage 104, which in the illustrated
                                  26   embodiment includes a port 111 through the housing opening to a header 112 and thereafter a
                                  27   fluid inlet opening 114 to the microporous fluid channels 103.”) (emphasis in the brief, but not the
                                  28
                                                                                          26
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                                   1   patent); ’330 Patent at 5:1–5 (“Heat exchanger 100 further includes a fluid outlet passage 106,

                                   2   which in the illustrated embodiment includes one or more fluid outlet openings 124 from the

                                   3   microporous fluid channels 103, a header 126, and an outlet port 128 opening from the

                                   4   housing.”)).

                                   5           CoolIT relies on statements made during the prior prosecution and the testimony of its

                                   6   expert. First, it argues that its proposed construction is “consistent with CoolIT’s statements made

                                   7   during prosecution,” CoolIT Opening Brief at 14: “some disclosed heat exchangers have opposed

                                   8   outlet headers (or portions thereof) extending over the fins and over the plate, and that some

                                   9   disclosed heat exchangers have an inlet header (or a portion thereof) positioned between the

                                  10   opposed outlet headers,” Exh. 4 to CoolIT Opening Brief (“Summary of Telephonic Examiner

                                  11   Interview”) at PDF 74, Docket No. 105-6; Walker Digital, LLC v. Microsoft Corp., 484 F. App’x

                                  12   496, 499 (Fed. Cir. 2012) (looking to statements made during patent prosecution to inform claim
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                                  13   construction) (“Statements made by Walker Digital during prosecution of the ’295 patent also

                                  14   indicate that the application program initiates the search on a background thread.”).

                                  15           Second, CoolIT asserts that the figures of the ’330 Patent (specifically FIGS. 1 & 3, which

                                  16   depict different views of a fluid heat exchangers and are reproduced below) are “consistent with

                                  17   the testimony of CoolIT’s expert explaining that the ‘[o]pening 114 is the bottom surface of the

                                  18   inlet header[ 112, which] is a volume . . . , and at the bottom of this volume . . . is the plane that

                                  19   defines the inlet opening[ 114].” CoolIT Systems, Inc.’s Reply Claim Construction Brief

                                  20   (“CoolIT Reply Brief”) at 11, Docket No. 115 (quoting Pokharna Decl. at 108–09 (“I never said

                                  21   openings [sic] 114 is inlet header [112]. I said opening 114 is an opening that is a surface at the

                                  22   bottom of that inlet header. It’s a plane that is defining the bottom of the inlet header.”)).

                                  23   ///

                                  24   ///

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                                       Asetek contends that “Dr. Pokharna’s testimony . . . conflate[s] headers 112 and 126 with fluid
                                  21
                                       inlet passage 104 and outlet passage 106” because the headers 112 and 126 (unlike the fluid inlet
                                  22
                                       passage 104 and outlet passage 106) do not include the inlet and outlet openings 114 and 124.
                                  23
                                       Asetek Response Brief at 18–19. However, as noted above, Dr. Pokharna clarified that “opening
                                  24
                                       114 is an opening that is a surface at the bottom of that inlet header.” Pokharna Decl. at 108–09.
                                  25
                                       Thus, rather than being included in header 112, opening 114 is “a plane that is defining the bottom
                                  26
                                       of the inlet header.” Id. That statement is consistent with the depiction in FIG. 3, which shows
                                  27
                                       the opening 114 below the inlet header 112 and the opening 124 below the outlet header 126.
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                                   1          Asetek’s proposed construction is problematic for three reasons, as aptly explained by

                                   2   CoolIT: (1) “it potentially requires the ‘region’ to be directly connected to the ‘smaller channels,’

                                   3   whereas no such required restrictions are present in the term’s associated claim language or the

                                   4   relevant portions of the specifications or file histories of the CoolIT Patents,” CoolIT Opening

                                   5   Brief at 15, (2) “it is unclear what ‘smaller channels’ mean[s]” because the construction does not

                                   6   identify what they are smaller than or whether other channels are even being referred to, id., and

                                   7   (3) “Asetek’s proposal leaves out the concept of ‘liquid’ completely,” which could be confusing,

                                   8   id. In addition, in the context of the claims, it would be confusing to use the term “region”

                                   9   because some of the claims in which the term appears also use the word “region,” such that the

                                  10   claim would end up with oddly redundant language, e.g., Claim 1 (“wherein a region of [a region

                                  11   into which, or out from which, several smaller channels lead]”).

                                  12          Accordingly, the Court adopts CoolIT’s proposed construction as consistent with both
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                                  13   intrinsic and extrinsic evidence and will construe the various terms as noted in the chart above.

                                  14                   c.      “adjacent [a first/the second] side of the fins / adjacent a [first/second] side

                                  15                           of the [plurality of juxtaposed] fins / juxtaposed with a [first/second] side of

                                  16                           the [plurality of juxtaposed] fins

                                  17
                                                               CoolIT’s Proposed           Asetek’s Proposed             Court’s
                                  18    Claim Term             Construction                Construction                  Construction
                                  19    “adjacent [a           “next or close to”          ORIGINAL:                     adjacent: “with no
                                        first/the second]                                  “close to and alongside a     intervening solid
                                  20    side of the fins” /                                first/second side of the      structure between it
                                        “adjacent a                                        plurality of fins”            and”
                                  21    [first/second] side
                                        of the [plurality of
                                  22    juxtaposed] fins”                                  AMENDED:
                                                                                           “next to a first/second
                                  23    ’330 patent,                                       side of the plurality of
                                        claims 1 and 12                                    fins and without any
                                  24                                                       intervening structure in
                                                                                           between”
                                  25    juxtaposed with a “placed next or close to”        ORIGINAL:                     juxtaposed with:
                                        [first/second] side                                “close to and alongside a     “with no intervening
                                  26    of the [plurality of                                                             solid structure
                                                                                           first/second side of the
                                        juxtaposed] fins”                                  plurality of fins”            between it and”
                                  27

                                  28    ’330 patent,                                       AMENDED:
                                                                                          29
                                        Case 3:19-cv-00410-EMC Document 149 Filed 07/22/20 Page 30 of 45



                                        claims 14 and 15                                 This term should be
                                   1
                                                                                         construed the same as
                                   2                                                     “adjacent”: “next to a
                                                                                         first/second side of the
                                   3                                                     plurality of fins and
                                                                                         without any intervening
                                   4                                                     structure in between”

                                   5          The parties agree that the terms “adjacent” and “juxtaposed with” should be construed the
                                   6   same way; the key disagreement focuses on whether there can be anything in between things that
                                   7   are “adjacent” or “juxtaposed.”
                                   8          The terms at issue appear in the ’330 Patent in the following claims:
                                   9
                                                  •   “A fluid heat exchanger comprising: . . . a seal extending between the housing and
                                  10                  the plate positioned over the plurality of distal fin ends, wherein the elongate fluid
                                                      inlet opening defined by the plate extends between a proximal end and a distal end,
                                  11                  wherein a region of the inlet header is positioned adjacent a first side of the fins
                                                      and a region of the outlet header is positioned adjacent the second side of the fins,
                                  12                  and wherein the fins, the plate, the housing, and the seal are arranged such that the
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                                                      heat transfer fluid is directed from the inlet opening to the inlet header, through the
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                                  13                  elongate fluid inlet opening defined by the plate and into the microchannels, from
                                                      the microchannels to the outlet header, and from the outlet header to the outlet
                                  14                  defined by the housing.” ’330 Patent at 7:40 and 8:12–25 (Claim 1).
                                                  •   “A fluid heat exchanger comprising: . . . a housing spaced apart from the plate,
                                  15                  wherein the housing has an inlet aperture and an outlet aperture, wherein the inlet
                                                      aperture opens to an inlet header region positioned adjacent a first side of the
                                  16                  plurality of juxtaposed fins and the outlet aperture opens from an outlet header
                                                      region positioned adjacent a second side of the plurality of juxtaposed fins
                                  17                  opposite the first side of the plurality of fins, and wherein the elongate aperture of
                                                      the plate extends away from the inlet header region transversely relative to the
                                  18                  plurality of juxtaposed fins.” Id. at 9:16 and 9:28–37 (Claim 12).
                                                  •   “A fluid heat exchanger comprising: . . . a housing having an inlet and an outlet,
                                  19                  wherein the inlet opens to an inlet header region juxtaposed with a first side of the
                                                      plurality of juxtaposed fins, and wherein the outlet opens from an outlet header
                                  20                  region juxtaposed with a second side of the plurality of juxtaposed fins, wherein
                                                      the first side and the second side are positioned opposite relative to each other and
                                  21                  wherein the inlet to the microchannels defined by the apertured plate extends
                                                      between the first side and the second side at a position between the first ends and
                                  22                  the second ends.” Id. at 9:48 and 9:56–10:2 (Claim 14).
                                                  •   “A fluid heat exchanger according to claim 14, wherein the inlet header region
                                  23                  juxtaposed with a first side of the plurality of juxtaposed fins constitutes a first
                                                      portion of an inlet header, wherein a second portion of the inlet header extends
                                  24                  transversely over the microchannels.” Id. at 10:11–16 (Claim 15).

                                  25          As pointed out by CoolIT, there are several places in the specification of the ’330 Patent in
                                  26   which the word “adjacent” is used, but where it could not be read to mean “alongside.” CoolIT
                                  27   Opening Brief at 16. One example involves FIGS. 1–3, which are described, in relevant part, as
                                  28
                                                                                        30
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                                   1   follows:

                                   2                  Fluid inlet opening 114 may be positioned adjacent to the known
                                                      intended heat generating component contact region 102b since this
                                   3                  region of the heat spreader plate may be exposed to greater inputs of
                                                      thermal energy than other regions on plate 102. Positioning the fluid
                                   4                  inlet opening adjacent region 102b seeks to introduce fresh heat
                                                      exchanging fluid first and directly to the hottest region of the heat
                                   5                  exchanger. The position, arrangement and/or dimensions of opening
                                                      114 may be determined with consideration of the position of region
                                   6                  102b Such that opening 114 may be placed adjacent, for example
                                                      orthogonally opposite to, or according to the usual mounting
                                   7                  configuration above, the intended heat generating component
                                                      contact region 102b on the heat plate.
                                   8
                                   9   ’330 Patent at 4:31–43; see also id. at 10:2-7 (“The position, arrangement and/or dimensions of

                                  10   opening 114 may be determined with consideration of the position of region 102b such that

                                  11   opening 114 may be placed adjacent, for example orthogonally opposite to, or according to the

                                  12   usual mounting configuration above, the intended heat generating component contact region
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                                  13   102b on the heatplate.”).

                                  14

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                                  23          CoolIT makes two persuasive arguments from these descriptions and diagrams. First, the

                                  24   ’330 Patent says that the “[f]luid inlet opening 114 may be positioned adjacent to the known

                                  25   intended heat generating component contact region 102b”; but the diagrams show that it is not

                                  26   “alongside” the “heat generating component contact region 102b.” Second, and relatedly, the

                                  27   embodiment in FIGS. 1–3 “is claimed in claim 4 of the ’330 patent,” and therefore that adopting

                                  28   Asetek’s construction (which includes the “alongside” requirement) would exclude a preferred
                                                                                       31
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                                   1   embodiment, a strongly disfavored result. Id. at 17 (citing Dow Chem. Co. v. Sumitomo Chem.

                                   2   Co., 257 F.3d 1364, 1378 (Fed. Cir. 2001) (“it is also well established that a claim construction

                                   3   that excludes a preferred embodiment is rarely, if ever, correct.” (internal quotation marks

                                   4   omitted))).

                                   5          In addition, both parties are faced with the fact that they advanced contrary positions

                                   6   during inter partes review of the ’330 Patent. As CoolIT points out, during that proceeding

                                   7   counsel for Asetek engaged in the following exchange:

                                   8                  JUDGE WEATHERLY [of the Patent Trial and Appeal Board]:
                                                      Or how do you know whether a cow is adjacent to an egg if there’s a
                                   9                  fence in between? Does that mean they are still adjacent?
                                  10                  MS. BHATTACHARYYA [representing Asetek]: So, yes, Your
                                                      Honor, a cow would be adjacent to an egg. I mean, if there are --in
                                  11                  that context, we will only have to look at proximity. And it’s in the
                                                      context if they are close together, close with each other, they would
                                  12                  still be adjacent.
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                                  13   CoolIT Opening Brief at 18 (emphasis added). Ms. Bhattacharyya’s comment weakens Asetek’s

                                  14   current position that being “adjacent” requires something to be “alongside” something else;

                                  15   proximity appeared sufficient. On the other hand, Asetek points out:

                                  16                  Specifically, CoolIT argued during the IPR that “adjacent” should
                                                      be construed as “next to.” Opp. Ex. 10 [Patent Owner Response] at
                                  17                  3. CoolIT further distinguished “close to” (Asetek’s proposal in the
                                                      IPR) from “next to” by asserting that the claimed invention and the
                                  18                  prior art devices are “thin,” so “everything is somewhat close to
                                                      each other.” Opp. Ex. 11 [IPR trial transcript], 23:19-24:47. The
                                  19                  Board agreed with CoolIT, finding that “[b]ecause all elements of
                                                      thin fluid heat exchangers can be considered relatively close to each
                                  20                  other due to the small size of these devices,” “‘adjacent’ in the ’330
                                                      patent must mean something more than ‘close to or nearby’ as
                                  21                  asserted by [Asetek].” Opp. Ex. 12 [Final Written Decision] at 11-
                                                      12. The Board accordingly ruled that “adjacent” should be construed
                                  22                  as “next to.” Id. at 12. As a result, even if “adjacent” could warrant a
                                                      broader definition, such as “close to,” CoolIT disclaimed such a
                                  23                  broad meaning by arguing to the Board that “adjacent” should mean
                                                      “next to.”
                                  24

                                  25   Asetek Response Brief at 25–26. In addition, in order to distinguish prior art reference (Kang),

                                  26   CoolIT argued in IPR (both in its briefing at all oral argument) that “Kang’s inlet section 31 is not

                                  27   positioned adjacent those fins, but rather is spaced from those fins with an intervening flow

                                  28   distributor 40 positioned between the inlet section 31 and the fins 14.” Id. at 27 (citing Opp. Ex.
                                                                                        32
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                                   1   10 [Patent Owner Response] at17) (emphasis removed); see also id. (citing Opp. Ex. 11 [IPR Trial

                                   2   Transcript], 23:19-24:47, 27:11-29:7). These prior comments indicate that permitting something

                                   3   physical, e.g. a flow distributor, to be positioned between two things considered to be “adjacent”

                                   4   would be improper.

                                   5          In light of the specifications and the parties’ prior arguments, the Court adopts the

                                   6   construction “with no intervening solid structure between it and” for both the term “adjacent” and

                                   7   the term “juxtaposed with.”

                                   8                  d.        inlet opening/ inlet [to the microchannels / elongate] aperture/ [elongate

                                   9                            inlet] aperture/aperture/opening positioned over the groove

                                  10
                                                                  CoolIT’s Proposed             Asetek’s Proposed          Court’s
                                  11    Claim Term                Construction                  Construction               Construction
                                  12    “inlet opening”/          Plain and ordinary            “passage through the       Plain and ordinary
                                        “inlet [to the            meaning or “inlet”
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                                                                                                entire thickness of the    meaning.
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                                  13    microchannels]”           means “liquid                 plate extending across
                                                                  entrance”                     the microchannels”
                                  14    ’330 patent, claims
                                        1, 2, 4, 6, and 14        Plain and ordinary
                                  15                              meaning or “inlet
                                                                  opening” means “gap
                                  16    ’284 patent, claims 1     for a liquid entrance”
                                        and 15
                                  17    “[elongate]           Plain and ordinary                “passage through the       Plain and ordinary
                                        aperture”/ “[elongate meaning or “aperture”             entire thickness of the    meaning.
                                  18    inlet]                means “hole or gap”               plate extending across
                                        aperture”/“aperture”                                    the microchannels”
                                  19

                                  20    ’330 patent, claim 12

                                  21
                                        ’284 patent, claim 29
                                  22
                                        ’266 patent, claim 13
                                  23
                                        “opening positioned Plain and ordinary                  “passage through the       Plain and ordinary
                                  24    over the groove”      meaning or “gap                   entire thickness of the    meaning.
                                                              located above the                 plate over the length of
                                  25                          groove”                           the groove”
                                        ’567 patent, claims 1
                                        and 28
                                  26

                                  27          The key disagreement here is whether the opening 114 extends across the entire width of
                                  28   the microchannels, i.e. whether the opening extends from one side of the collection of
                                                                                           33
                                        Case 3:19-cv-00410-EMC Document 149 Filed 07/22/20 Page 34 of 45




                                   1   microchannels all the way to the other side of the collection of microchannels. For each term,

                                   2   Asetek seeks to construe the terms as “passage” and to add “through the entire thickness of the

                                   3   plate extending across the microchannels.”

                                   4          By way of example, the terms appear in, inter alia, the following places in the claims:

                                   5                      •   “A fluid heat exchanger comprising: . . . a plate positioned
                                                              over the juxtaposed fins and the corresponding plurality of
                                   6                          juxtaposed microchannels, wherein the plate defines an
                                                              elongate aperture extending transversely relative to each of
                                   7                          the plurality of juxtaposed microchannels, wherein the
                                                              elongate aperture is positioned between the first ends and
                                   8                          the second ends of the plurality of juxtaposed microchannels
                                                              . . .” ’330 Patent at 9:16, 21–27 (Claim 12).
                                   9                      •   “A fluid heat exchanger comprising: . . . an apertured plate
                                                              overlying the microchannels and defining an inlet to the
                                  10                          microchannels and an outlet from the microchannels; . . .”
                                                              Id. at 9:48, 53–55 (Claim 14).
                                  11                      •   “A heat exchange system comprising: . . . a compliant
                                                              member matingly engaged with the second side of the
                                  12                          housing member, wherein the compliant member at least
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                                                              partially defines an opening positioned over the groove . . .
                                  13                          .” ’567 Patent at 19:16, 19:23–26 (Claim 1).
                                  14          To advance its argument regarding construction of these terms, Asetek points to language

                                  15   in the claims of the ’330 Patent, including to the language quoted as examples of the contested

                                  16   terms above. See Asetek Response Brief at 13–14. It contends that this language shows that the

                                  17   opening 114 extends over all of the microchannels, which makes its proposed construction

                                  18   appropriate. However, the language of the claims makes Asetek’s proposed construction

                                  19   unnecessary and its argument unpersuasive. As shown above, the language of the claims already

                                  20   specifies that the opening extends over each of the microchannels: “the plate defines an elongate

                                  21   aperture extending transversely relative to each of the plurality of juxtaposed microchannels,”

                                  22   ’330 Patent at 9:17–20, “an elongate inlet opening to the microchannels and defining an inlet flow

                                  23   path to each respective microchannel at a position between the respective first ends and the

                                  24   respective second ends,” ’284 Patent at 9:23–26, and “an elongate recess positioned over and

                                  25   extending coextensively with the transverse groove to at least partially define an inlet manifold

                                  26   opening to each of the microchannels,” ’567 Patent at 22:15–18. This language shows that there

                                  27   is already a limitation implied by the word “each” in the claim language. Thus, there is no need or

                                  28   reason to incorporate such a limitation into construction of the term.
                                                                                        34
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                                   1          To the extent that Asetek contends that there is no representation or description of the

                                   2   invention in which the inlet, inlet opening, or aperture “introduces cooling liquid into each of the

                                   3   microchannels but without extending across each of them” id. at 14, the Court notes that the

                                   4   specification of the ’330 Patent states: “Opening 114 may extend over any channel 103 through

                                   5   which it is desired that heat exchange fluid flows. Openings 114 may take various forms

                                   6   including, for example, various shapes, various widths, straight or curved edges (in plane or in

                                   7   section) to provide fluid flow features, open area, etc., as desired.” ’330 Patent at 4:62–67.

                                   8   Although the fact that the opening can take a wide variety of forms is not inherently inconsistent

                                   9   with the idea that the opening would extend across all the microchannels, this description suggests

                                  10   the patent does not contemplate a narrow or limited conception of the opening. Accordingly, the

                                  11   Court finds it inappropriate to import Asetek’s proposed limitation from the specification. See

                                  12   Teleflex, 299 F.3d at 1328 (noting that the district court “erred by importing the . . . limitation
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                                  13   from the specification into the claim”).

                                  14          Asetek notes that in the prosecution history of the ’567 Patent:

                                  15                  [T]he examiner noted in the Notice of Allowance that the closest
                                                      prior art of record, Nelson (U.S. Patent No. 4,909,315), did not teach
                                  16                  a compliant member having ‘an opening positioned over every fin
                                                      and distribute fluid transverse to the fins and then parallel to the
                                  17                  fins.’ The examiner clearly understood the inlet opening in the
                                                      compliant member as extending over every fin 400, and thus
                                  18                  coextensive with groove 325 on the fins, and allowed the claims
                                                      because this claimed feature was purportedly not taught by the prior
                                  19                  art.
                                  20   Asetek Responsive Brief at 17 (citing Opp. Ex. 9 [Notice of Allowance] at 7-8). It asserts that, in

                                  21   light of this history, “CoolIT should not be allowed to depart from the examiner’s understanding

                                  22   of the opening in the complaint member and the resulting reason for allowance of the patent

                                  23   claims.” Id. However, the Court is aware of no case in which the comments of an examiner were

                                  24   found to evince disclaimer by the inventor, where those comments were not shown to be induced

                                  25   by the patent applicant’s representative; the requirements of disclaimer are rigorous, and it is

                                  26   typically the inventor’s own statements that are found to evince disclaimer. See, e.g., Omega

                                  27   Eng’g, Inc, v. Raytek Corp., 334 F.3d 1314, 1326 (Fed. Cir. 2003) (finding disclaimer where the

                                  28   examiner rejected some claims as obvious and “the patentee attempted to overcome the prior art
                                                                                          35
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                                   1   by proffering a narrower meaning of the function performed”); Spectrum Int’l, Inc. v. Sterilite

                                   2   Corp., 164 F.3d 1372, 1378 (Fed. Cir. 1998) (“explicit statements made by a patent applicant

                                   3   during prosecution to distinguish a claimed invention over prior art may serve to narrow the scope

                                   4   of a claim”). Asetek points to no statement by the inventor during the patent prosecution on this

                                   5   point. Accordingly, Asetek’s prosecution history arguments are not persuasive.

                                   6          In light of the above analysis and because the terms are not difficult to understand, these

                                   7   terms will be given their plain and ordinary meaning.

                                   8                   e.     outlet opening

                                   9
                                                         CoolIT’s Proposed               Asetek’s Proposed            Court’s
                                  10    Claim Term       Construction                    Construction                 Construction
                                  11    “outlet opening” Plain and ordinary              ORIGINAL:                    Plain and ordinary
                                                         meaning or “gap for a           “portions of the             meaning.
                                  12                     liquid exit”                    microchannels not
                                        ’330 patent,
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                                                                                         covered by the plate and
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                                        claim 1
                                  13                                                     where the fluid exits the
                                                                                         microchannels”
                                  14    ’284 patent,
                                        claims 1 and 29
                                  15                                                     AMENDED:
                                                                                         “portions above the
                                  16    ’266 patent,                                     microchannels not
                                        claim 15                                         covered by the plate and
                                  17                                                     where the fluid exits the
                                                                                         microchannels”
                                  18

                                  19

                                  20

                                  21

                                  22          The key disagreement here tracks the debate regarding the previous terms and pertains to
                                  23   whether the term “outlet opening” (which describes where the fluid leaves the microchannels)
                                  24   refers only to the area of the microchannels not covered by the plate. By way of example, the term
                                  25   appears in, inter alia, the following claims:
                                  26              •    “A fluid heat exchanger comprising: . . . a plate positioned over the distal ends of
                                                       the plurality of fins and the corresponding plurality of microchannels to close off
                                  27                   the plurality of microchannels adjacent the distal ends of the plurality of fins,
                                                       wherein the plate positioned over the plurality of distal fin ends defines an elongate
                                  28                   fluid inlet opening overlying and extending transversely relative to the plurality of
                                                                                          36
                                        Case 3:19-cv-00410-EMC Document 149 Filed 07/22/20 Page 37 of 45



                                                        microchannels between the plurality of microchannel first ends and opposite ends,
                                   1                    wherein the plate is so positioned over the plurality of fins as to define a first fluid
                                                        outlet opening from each microchannel in the plurality of microchannels at each of
                                   2                    the microchannel first ends and an opposite fluid outlet opening from each
                                                        microchannel in the plurality of microchannels at each of the microchannel
                                   3                    opposite ends . . .” ’330 Patent at 7:40, 7:56–8:3.
                                                    •   “A fluid heat exchanger for cooling an electronic device, the heat exchanger
                                   4                    comprising: . . . an outlet opening in fluid communication with each of the
                                                        microchannel first ends, wherein a corresponding outlet flow path from each of the
                                   5                    microchannel first ends is positioned laterally outward of the plate relative to the
                                                        inlet flow path to the respective microchannel . . .” ’284 Patent at
                                   6                    7:55, 7:66–8:3.
                                   7             Asetek contends that the term “outlet opening” “is not entitled to a plain and ordinary

                                   8   meaning because this term is [not just informed by but] defined in the specification, and thus must

                                   9   be construed according to the usage of the term in the context of the specification.” Asetek

                                  10   Responsive Brief at 33 (citing Phillips, 415 F.3d at 1321 (“[T]he specification is ‘the single best

                                  11   guide to the meaning of a disputed term,’ and that the specification ‘acts as a dictionary when it

                                  12   expressly defines terms used in the claims or when it defines terms by implication.’”)). In support
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                                  13   of this contention, Asetek cites to several portions of the specification of the ’330 Patent. First, it

                                  14   notes that specifications “specifically identify ‘fluid outlet openings 124’ through which cooling

                                  15   liquid ‘exit’ the microchannels” and that “[t]he specifications further explain that ‘the fluid outlet

                                  16   openings 124 will generally be positioned above the microchannels 103 such that fluid may flow

                                  17   from the channels upwardly through openings 124.” Id. at 34 (citing ’330 Patent at 5:13–20; ’284

                                  18   Patent at 5:25–32; ’266 Patent at 10:46–53) (emphasis in brief but not patent). It also notes that

                                  19   “the specifications describe that outlet opening 124/224 is formed by removing portions of the

                                  20   plate.” Id. Finally, it notes that the illustrations show that “outlet openings 124 are formed by

                                  21   removing portions of the plate installed over the microchannels and that cooling liquid exits the

                                  22   microchannels through outlet openings 124.” Id. In contends that these excerpts from the

                                  23   specifications demonstrate that the specification defines “outlet openings” as “portions above the

                                  24   microchannels not covered by the plate and where the fluid exits the microchannels.”

                                  25             Asetek also marshals the following excerpt from the deposition of Dr. Pokharna, CoolIT’s

                                  26   expert:

                                  27                    BY MS. BHATTACHARYYA:
                                                        Q. Where in Figure 1 of the '330 patent is the first fluid outlet
                                  28                    opening from each microchannel –
                                                                                           37
                                        Case 3:19-cv-00410-EMC Document 149 Filed 07/22/20 Page 38 of 45




                                   1                  MR. CHEN: Objection. Form.
                                   2                  BY MS. BHATTACHARYYA:
                                                      Q. – the plurality of microchannels?
                                   3
                                                      BY DR. POKHARNA:
                                   4                  A. So that's the section that is marked what seems like 103A, the
                                                      region of microchannels that is not covered by plate and where the
                                   5                  fluid or liquid is exiting these microchannels.
                                   6                  Q. So the portions of the microchannels not covered by the plate and
                                                      where the fluid exits the microchannels is the outlet opening,
                                   7                  correct?
                                   8                  MR. CHEN: Objection. Form.
                                   9                  THE WITNESS: So in this embodiment, the outlet from the
                                                      channels is the portion of the plate that is not covering the
                                  10                  microchannels.
                                  11   Asetek Response Brief at 35–36.

                                  12          However, these arguments are unpersuasive for several reasons. First, FIG. 1 (which
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                                  13   forms the basis of this line of questioning) is only one possible illustration of the invention. As

                                  14   CoolIT points out, FIG. 3 of the ’330 Patent shows an alternative embodiment in which the outlet

                                  15   openings are “on the sides of the microchannels as opposed to being above the microchannels”

                                  16   because “the walls (i.e., fins) 110 do not extend all the way to the inside boundaries of the device

                                  17   and are covered above entirely by the plate.” CoolIT Reply Brief at 23. In addition, the first claim

                                  18   language cited by Asetek states that “the fluid outlet openings 124 will generally be positioned

                                  19   above the microchannels 103”; it does not say that such positioning will always be the case.

                                  20   Likewise, while the specification does discuss removal of portions of the plate, it is not clear that

                                  21   removal of portions of the plate will always define the outlet opening. Thus, Asetek

                                  22   impermissibly asks the Court to import limitations from the specification to the claims. See, e.g.,

                                  23   Teleflex, 299 F.3d at 1328 (noting that the district court erred by important a limitation from the

                                  24   specification into the claim).

                                  25          In light of this analysis, the Court will give this term its plain and ordinary meaning.

                                  26   ///

                                  27   ///

                                  28   ///
                                                                                         38
                                           Case 3:19-cv-00410-EMC Document 149 Filed 07/22/20 Page 39 of 45




                                   1                        f.     at least partially

                                   2
                                                                 CoolIT’s Proposed            Asetek’s Proposed            Court’s Construction
                                   3       Claim Term            Construction                 Construction
                                   4       “at least             “at least in part”           Indefinite.                  Plain and ordinary
                                           partially”                                                                      meaning.
                                   5
                                           ’567 patent,
                                   6       claims 1 and 28
                                   7

                                   8             The dispute here focuses on whether the term at issue is indefinite; Asetek alleges that
                                   9   “CoolIT is attempting to rewrite the claim language for the sole purpose of attempting to avoid
                                  10   Asetek’s contention that this phrase renders claims 1 and 28 of the ’567 patent indefinite.”
                                  11   Asetek Response Brief at 36.2 CoolIT asserts that the term “at least partially” is not indefinite
                                  12   because “a person of ordinary skill in the art would have understood it to have a plain and ordinary
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                                  13   meaning of ‘at least in part’ with reasonable certainty.” CoolIT Opening Brief at 21.3
                                  14             The terms appear in the following claims:
                                  15                    •   “A heat exchange system comprising: . . . a compliant member matingly engaged
                                                            with the second side of the housing member, wherein the compliant member at
                                  16                        least partially defines an opening positioned over the groove, wherein the
                                                            compliant member and the groove together define a portion of an inlet manifold
                                  17                        configured to hydraulically couple in parallel each of the microchannels to at least
                                                            one other of the microchannels, and wherein the housing member further defines a
                                  18                        portion of an inlet plenum . . . .” ’567 at 19:16–31 (Claim 1).
                                                        •   “A heat exchange system comprising: . . . a compliant member sealingly engaged
                                  19                        with the second side of the housing member, wherein the compliant member at
                                                            least partially defines an opening positioned over the groove and in alignment with
                                  20                        the inlet plenum, wherein the compliant member defines an elongate recess
                                                            positioned over and extending coextensively with the transverse groove to at least
                                  21                        partially define an inlet manifold opening to each of the microchannels . . .” Id. at
                                                            22:1–14.
                                  22

                                  23             Both parties agreed that a determination about indefiniteness need not be made at this
                                  24   juncture. See CoolIT Opening Brief at 21 (citing PowerOasis, Inc. v. T-Mobile USA, Inc., 522
                                  25

                                  26
                                       2
                                         “A claim is considered indefinite if it does not reasonably apprise those skilled in the art of its
                                       scope.” IPXL Holdings, L.L.C. v. Amazon.com, Inc., 430 F.3d 1377, 1383–84 (Fed. Cir. 2005)
                                  27   (citing Amgen, Inc. v. Chugai Pharm. Co., 927 F.2d 1200, 1217 (Fed. Cir. 1991)).

                                  28
                                       3
                                         At the hearing, CoolIT also explained that the term “at least partially” means that a particular
                                       structure forms “a part of” another structure.
                                                                                         39
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                                   1   F.3d 1299, 1307 (Fed. Cir. 2008)) (“[T]he Court does not need to deal with invalidity issues such

                                   2   as indefiniteness during claim construction.”); Asetek Response Brief at 38 (“Asetek does not

                                   3   disagree that the Court can evaluate the merits of Asetek’s indefiniteness positions at a later

                                   4   date.”). Indeed, Asetek conceded at the hearing that a jury will be able to understand this term

                                   5   because it is not technical or complicated, but is a “common” word in the English language.

                                   6   Asetek instead asserts that the confusion the term would cause stems from the term’s alleged

                                   7   indefiniteness.

                                   8          At this time, the Court declines to find the term indefinite, although that determination is

                                   9   without prejudice, and Asetek may renew its challenge at an appropriate time. In addition,

                                  10   declines to construe this term, as a jury will be able to understand its plain and ordinary meaning.

                                  11                     g.    inlet/outlet flow path

                                  12
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                                                              CoolIT’s Proposed           Asetek’s Proposed            Court’s
                                  13    Claim Term            Construction                Construction                 Construction
                                  14    “inlet/outlet flow    Plain and ordinary          ORIGINAL:                    Plain and ordinary
                                        path”                 meaning or “an              “portions of the             meaning.
                                  15                          inlet/outlet path through   microchannels not
                                                              which the liquid flows”     covered by the plate and
                                        ’284 patent,
                                  16    claims 1 and 15                                   where the fluid enters or
                                                                                          exits”
                                  17

                                  18                                                      AMENDED:
                                                                                          “portions above the
                                  19                                                      microchannels not
                                                                                          covered by the plate and
                                  20                                                      where the fluid enters or
                                                                                          exits the microchannels”
                                  21

                                  22                                                      CoolIT’s construction is
                                                                                          indefinite
                                  23

                                  24          The dispute as to this term parallels the dispute related to the term “outlet opening,” as it
                                  25   pertains to whether the term must refer to portions of the microchannels not covered by the plate.
                                  26   In fact, Asetek’s proposed constructions, which seek to limit the claim, are essentially the same for
                                  27   “outlet flow path” and “outlet opening.”
                                  28
                                                                                          40
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                                   1          As an example, the term appears in the following part of Claim 1:

                                   2              •   “A fluid heat exchanger for cooling an electronic device, the heat exchanger
                                                      comprising: . . .
                                   3                     an elongate inlet opening in fluid communication with each of the
                                                             microchannels, wherein an inlet flow path to each respective microchannel
                                   4                         is positioned between the respective first ends and second ends;
                                                         an outlet opening in fluid communication with each of the microchannel first
                                   5                         ends, wherein a corresponding outlet flow path from each of the
                                                             microchannel first ends is positioned laterally outward of the plate relative
                                   6                         to the inlet flow path to the respective microchannel, wherein the plurality
                                                             of spaced-apart walls comprises a first outermost wall and a second
                                   7                         outermost wall spaced apart from and opposite the first outermost wall
                                                             relative to the plurality of microchannels, wherein the outlet flow path
                                   8                         from a centrally positioned microchannel first end positioned between the
                                                             first outermost wall and the second outermost wall is larger than the outlet
                                   9                         flow path from another microchannel first end positioned adjacent the first
                                                             outermost wall, the second outermost wall, or both;
                                  10                     a housing positioned over and spaced apart from the plate, wherein the housing
                                                             has an inlet port and an outlet port spaced apart from each other, wherein
                                  11                         the inlet port is in fluid communication with each respective inlet flow path
                                                             and the outlet port is in fluid communication with each respective outlet
                                  12                         flow path from the microchannel first ends; and
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                                                         a seal extending between the housing and the plate and separating the inlet flow
                                  13                         path to each of the microchannels from the outlet flow path from each of
                                                             the micro channel first ends, wherein each respective inlet flow path is split
                                  14                         generally into two subflow paths, wherein one of the subflow paths extends
                                                             outwardly toward the corresponding microchannel first end and passes
                                  15                         outwardly of the plate along the outlet flow path from the respective
                                                             microchannel first end.” ’284 Patent at 7:55–56; 7:62–8:30 (Claim 1).
                                  16

                                  17          Asetek contends that that term is vague and ambiguous and that, without its proposed

                                  18   limitation, there is no identification of the beginnings of ends of the flow path. However, as

                                  19   explained below, there is no need to add additional limitations to the claim language, and to do so

                                  20   would contravene the rule against importation of limitations from the specification.

                                  21          First, Asetek contends that “one of ordinary skill would understand ‘inlet flow path’ to

                                  22   mean the openings 114/214 formed by the elongate cutout in the plate through which cooling

                                  23   liquid enters the microchannels. Similarly, one of ordinary skill would understand ‘outlet flow

                                  24   path’ to mean the scalloped-shaped cutouts 124/224 through which cooling liquid exits the

                                  25   microchannels.” Asetek Response Brief at 38 (citing ’284 Patent at 4:11–15; 4:27–42; 5:13–20,

                                  26   5:25–37, FIGS. 1, 4, and 5). However, while openings 114/214 and 124/224 are certainly

                                  27   identified in those portions of the specification as openings through which fluid passes to enter or

                                  28   exit the microchannels, the language of the claim makes that fact abundantly clear. The claim
                                                                                        41
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                                   1   describes the relevant parts as being “in fluid communication,” and the term “flow path” itself

                                   2   shows that liquid is moving through these component parts. Second, as explained above in the

                                   3   context of the term “outlet opening,” there is no reason to import Asetek’s proposed limitation that

                                   4   the “inlet/outlet flow paths” be only the “portions of the microchannels not covered by the plate.”

                                   5   To conclude otherwise would be to impermissibly import limitations from the specification.

                                   6          Thus, as with the term “outlet opening,” the term “inlet/outlet flow path” will be given its

                                   7   plain and ordinary meaning.

                                   8                   h.     seal / seal extending between the housing and the (apertured) plate / seal

                                   9                          extending between the plate and the housing

                                  10
                                                             CoolIT’s Proposed            Asetek’s Proposed             Court’s
                                  11    Claim Term           Construction                 Construction                  Construction
                                  12    “seal / seal         “a component that fills a    ORIGINAL:                     “a component that
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                                        extending            gap to prevent leakage       The entire phrases should     fills a gap to prevent
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                                  13    between the          through the gap”             be construed as “the          leakage through the
                                        housing and the                                   housing and the plate are     gap”
                                  14    (apertured) plate                                 fitted so that fluid cannot
                                        / seal extending                                  flow out from between
                                  15    between the plate                                 them”
                                        and the housing”
                                  16
                                                                                          AMENDED:
                                        ’330 patent,
                                  17    claims 1, 12, 14                                  “a component separate
                                                                                          from the plate or housing
                                  18                                                      that fills a gap to prevent
                                        ’284 patent,                                      leakage through the gap”
                                  19    claims 1, 15, 29

                                  20
                                        ’266 patent,
                                  21    claim 13

                                  22          After Asetek changed its proposed construction in response to CoolIT’s brief, the dispute
                                  23   regarding this term narrowed in focus to whether the term “seal” can refer to a feature of the plate
                                  24   or housing, or whether the seal must be separate from the plate or housing.
                                  25          The term appears in, for example, the following claim contexts:
                                  26
                                                  •    “A fluid heat exchanger comprising: . . .
                                  27                       a plurality of juxtaposed fins . . .
                                                           a plate positioned over the juxtaposed fins . . .
                                  28                       a housing spaced apart from the plate . . . and

                                                                                         42
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                                                            a seal extending between the housing and the plate positioned over the
                                   1                            plurality of distal fin ends, wherein the elongate fluid inlet opening defined
                                                                by the plate extends between a proximal end and a distal end, wherein a
                                   2                            region of the inlet header is positioned adjacent a first side of the fins and a
                                                                region of the outlet header is positioned adjacent the second side of the
                                   3                            fins, and wherein the fins, the plate, the housing, and the seal are arranged
                                                                such that the heat transfer fluid is directed from the inlet opening to the
                                   4                            inlet header, through the elongate fluid inlet opening defined by the plate
                                                                and into the microchannels, from the microchannels to the outlet header,
                                   5                            and from the outlet header to the outlet defined by the housing.” ’330
                                                                Patent at 7:40–8:25 (Claim 1).
                                   6

                                   7           Turning first to the language of the claim, the Court notes that the “seal” is recited

                                   8   separately from the plate and the housing (and the plurality of juxtaposed fins). Id. While its

                                   9   separate status does not definitively dictate that the seal cannot be part of the plate or housing, the

                                  10   fact that the seal is not described as an aspect of either the plate or the housing, but it instead

                                  11   described as its own component, suggests that the seal is distinct from the plate and housing.

                                  12           The specification is enlightening. For one thing, nothing in FIGS. 1-3 and 5 of the ’330
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                                  13   Patent indicates that the seal must be separate from the plate and/or housing. See also CoolIT

                                  14   Reply Brief at 21 (“As can be seen in FIGS. 1-3 and 5 of the ’330 patent, the seal 130 is not

                                  15   separate from at least the plate.”). In addition, the specification describes FIG. 5 in part, by saying

                                  16   that the seal “may be installed as a portion of plate 240 or separately.” Id. at 22 (quoting ’330

                                  17   Patent at 7:5-6 (emphasis in brief but not in ’330 Patent)). Thus, the specification specifically

                                  18   contemplates that the seal may be something other than a standalone component; it could at least

                                  19   be an aspect of or a part of the plate. Accordingly, not only would it be a mistake to read a

                                  20   limitation from the specification into the claim, it appears that the specification itself disclaims

                                  21   such a limitation.

                                  22           Lastly, Asetek argues that CoolIT disclaimed its current position (that the seal need not be

                                  23   a separate component) during IPR of the ’330 patent. Asetek Response Brief at 29.

                                  24                   During the IPR of the ’330 patent, Asetek contended that the claims
                                                       of the ’330 patent were rendered invalid by the Kang reference.
                                  25                   Kang disclosed two components (cover 20 and flow distributor 40)
                                                       that were tightly fitted together in a fluid-tight manner, which
                                  26                   Asetek contended met the “seal” element in the claims of the ’330
                                                       patent. CoolIT disagreed and distinguished Kang by arguing to the
                                  27                   Board that “Kang simply does not disclose any structure that could
                                                       be considered as a seal extending between the cover 20 and the flow
                                  28                   distributor 40 – they are in direct contact as shown [in CoolIT’s
                                                                                          43
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                                                      annotated Kang Fig. 3 at p. 27, supra].”
                                   1

                                   2   Id. (citing Opp. Ex. 10 [CoolIT’s Patent Owner Response] at 17). Because “CoolIT argued that

                                   3   said region of contact in ‘Kang lacks any structure that could be considered as being equivalent to

                                   4   ‘a seal extending between the housing and the apertured plate,’” Asetek believes that CoolIT

                                   5   “disclaimed from its claimed ‘seal’ the region of contact between the ‘plate’ and the ‘housing’

                                   6   components for purposes of the ’330 patent at issue in the IPR.” Id. (citing Opp. Ex. 10 [CoolIT’s

                                   7   Patent Owner Response] at 16). In response, CoolIT contends that it did not disclaim its current

                                   8   position because the components in Kang were defined by the absence of any seal “structure,” and

                                   9   the seal in the ’330 Patent can be a “structure” without being a separate component. In other

                                  10   words, while the parts in Kang fit together in a fluid-tight way, the ’330 Patent contemplates a

                                  11   specific feature or component that serves a sealing function. “[I]nvok[ing] the doctrine of

                                  12   prosecution disclaimer” requires that any disclaiming statements “be both clear and
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                                  13   unmistakable.” Aylus Networks, Inc. v. Apple Inc., 856 F.3d 1353, 1361 (Fed. Cir. 2017) (citations

                                  14   omitted). There was no such clear and unmistakable disclaimer here. CoolIT’s position then is

                                  15   not inconsistent with its current argument.

                                  16          The Court adopts CoolIT’s proposed construction (“a component that fills a gap to prevent

                                  17   leakage through the gap”) and declines to include the limitation that the seal must be separate from

                                  18   the plate and/or housing.

                                  19                                       IV.       CONCLUSION

                                  20          For the foregoing reasons, the Court construes the contested terms as follows:

                                  21          Asetek Terms

                                  22              •   “double-sided chassis” – “two-sided frame”

                                  23              •   “a first end or a second end of the thermal exchange chamber” – plain and ordinary

                                  24                  meaning

                                  25              •   “stator”/ “stator... isolated from the cooling liquid” – “stationary parts of the motor

                                  26                  that perform or support an electrical or magnetic function of the motor”

                                  27              •   “intermediate member” – not a means-plus-function term

                                  28
                                                                                        44
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                                   1          CoolIT Terms

                                   2             •   “fluid heat exchanger” – “component that transfers heat from a heat source to a

                                   3                 cooling liquid circulated by a pump that is external to the component”

                                   4             •   “[inlet/outlet] header” & “[inlet/exhaust] manifold” –

                                   5                     o “inlet header”: “a space out from which the liquid to be distributed flows”

                                   6                     o “outlet header”: “a space into which the collected liquid flows”

                                   7                     o “inlet manifold”: “a space out from which the liquid to be distributed flows”

                                   8                     o “exhaust manifold”: “a space into which the collected liquid flows”

                                   9             •   “adjacent” and “juxtaposed with ” – “with no intervening solid structure between it

                                  10                 and”

                                  11             •    “inlet,” “inlet opening”, “aperture” – plain and ordinary meaning

                                  12             •   “outlet opening” – plain and ordinary meaning
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                                  13             •   “at least partially” – plaint and ordinary meaning; no determination regarding

                                  14                 indefiniteness at this time

                                  15             •   “inlet/outlet flow path” – plain and ordinary meaning

                                  16             •    “seal” - “a component that fills a gap to prevent leakage through the gap”

                                  17

                                  18          IT IS SO ORDERED.

                                  19

                                  20   Dated: July 22, 2020

                                  21

                                  22                                                  ______________________________________
                                                                                       EDWARD M. CHEN
                                  23                                                   United States District Judge
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